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            EXHIBIT 167
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From:               Karen Robinson
To:                 Donna Kelly
Subject:            RE: Any update?
Date:               Thursday, December 21, 2017 9:25:00 AM




Donna --
I have asked for a contact at research office to review and provide advice on wording. We then may need to discuss
on phone.
In general, my understanding is that the university will not sign off on a contract that allows a sponsor to stop an
academic publication.
Also, just to be clear, the "data" we are talking about is our review of existing publications.
I will be back in touch when I have heard from lawyer on this end.
Thanks for your persistence in this, Donna!
Happy holidays and best wishes for a happy and healthy new year,
Karen

-----Original Message-----
From: Donna Kelly [mailto:donna@veritasmeetingsolutions.com]
Sent: Wednesday, December 20, 2017 5:29 PM
To: Karen Robinson <       REDACTED
Subject: RE: Any update?

Thanks Karen.
Please define "other than for education, academic or research purposes" in 9.2.
Our board has very specific thoughts around having approval for all uses, they are not likely to want to grant use of
the data for academic research purposes without approval of the context.
Happy to discuss this more by phone if that is easier.
Donna

-----Original Message-----
From: Karen Robinson [mailto   REDACTED
Sent: Wednesday, December 20, 2017 1:43 PM
To: Donna Kelly <donna@wpath.org>
Subject: RE: Any update?

Thanks, Donna. The prior version of section 8 covered some of that but how about this for new sections to replace
original 7,8 and 9 (to be renumbered). Again, I used a prior contract with an organization as a basis. Please let me
know of any suggested revisions. If you and Board are ok or mostly ok, I will revise contract and start process of
getting our side (lawyers) to review.
Thanks!
Karen

<sent previously>
1.1          Rights in Data
1.1.1   The term "Project Data" as used herein includes, among others, raw data, research data, records, reports,
notes, tables, writing, sound recordings, pictorial reproduction, drawings or other graphical representations, and
works of any similar nature (whether or not copyrighted) which are generated or specified to be delivered in
connection with the Project under this Agreement.
1.1.2   The INSTITUTION ensures that the ownership of the Project Data and all intellectual property rights in the
Project Data developed by the INSTITUTION or the INVESTIGATOR in connection with the Project shall
automatically be vested in WPATH as soon as they are created or, to the extent required, assigned to WPATH.  
1.1.3   To the extent not prohibited by mandatory law, the INSTITUTION hereby completely waives and agrees not
to enforce (and procures that its agents, designees, employees and subcontractors waive and agree not to enforce)
any intellectual property rights and other proprietary rights, if any, related to the Project Data.
1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as



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may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

<suggested new section>

9.      Use and Publication

9.1     Notwithstanding anything to the contrary contained in this Agreement, WPATH shall retain the unrestricted
right to use the Project Data, or any part thereof at any time, in any manner and for any purpose, including the
publication of the Project Data and the communication of Project Data to third parties.

9.2     Any publication or use of the Project Data by the INSTITUTION, other than for education, academic or
research purposes, must be reviewed by WPATH and approved by it prior to such publication of use.

9.3     Prior to the publication of the Project Data or any part thereof by the INSTITUTION, WPATH shall have
thirty (30) days in which to review and comment on the proposed publication. The INSTITUTION will give due
regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential Information.
WPATH further has the right to request a delay in publication to allow for any patentable invention to be legally
protected.

9.4     Publication of the Project Data or any part thereof by either of the Parties shall give proper credit to the other
Party. The INSTITUTION shall not mention any commercial brands or trade names in the publication of the Project
Data except as such brand or trade names are essential in the description of the research, nor shall the name of
WPATH be used in any way for advertising purposes without WPATH's prior written consent.

9.5     The INSTITUTION shall not originate any publicity, news release, advertising promotion or commercial
material, or other public announcement, written or verbal, whether to the public press or otherwise, relating to this
Agreement, the Project conducted hereunder, or to any amendment(s) without WPATH's prior express written
consent, except as required by law.

-----Original Message-----
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Wednesday, December 20, 2017 2:18 PM
To: Karen Robinson <       REDACTED
Subject: RE: Any update?

Hi Karen,
Thank you for doing this it was very helpful. We discussed the revised language and most was fine as is. There are
still questions around your 1.1.4 below. Can you provide some additional clarification? The board wants it to be
clear that the data cannot be used without WPATH approval in each instance so they have some control over the
context it is being used in.
Thank you, Donna

1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as
may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

-----Original Message-----
From: Karen Robinson [mailto    REDACTED
Sent: Tuesday, December 19, 2017 7:34 AM
To: Donna Kelly <donna@wpath.org>
Subject: Any update?

Good morning, Donna.. I am checking in to see if the revised contract text I sent addressed the concerns. Anything I
can do on my end to move forward?
Thanks,
Karen


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Sent from my iPhone




                                                         JHU_000000013
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From:               Karen Robinson
To:                 "Donna Kelly"
Subject:            RE: Any update?
Date:               Wednesday, December 20, 2017 2:43:26 PM




Thanks, Donna. The prior version of section 8 covered some of that but how about this for new sections to replace
original 7,8 and 9 (to be renumbered). Again, I used a prior contract with an organization as a basis. Please let me
know of any suggested revisions. If you and Board are ok or mostly ok, I will revise contract and start process of
getting our side (lawyers) to review.
Thanks!
Karen

<sent previously>
1.1          Rights in Data
1.1.1   The term "Project Data" as used herein includes, among others, raw data, research data, records, reports,
notes, tables, writing, sound recordings, pictorial reproduction, drawings or other graphical representations, and
works of any similar nature (whether or not copyrighted) which are generated or specified to be delivered in
connection with the Project under this Agreement.
1.1.2   The INSTITUTION ensures that the ownership of the Project Data and all intellectual property rights in the
Project Data developed by the INSTITUTION or the INVESTIGATOR in connection with the Project shall
automatically be vested in WPATH as soon as they are created or, to the extent required, assigned to WPATH.  
1.1.3   To the extent not prohibited by mandatory law, the INSTITUTION hereby completely waives and agrees not
to enforce (and procures that its agents, designees, employees and subcontractors waive and agree not to enforce)
any intellectual property rights and other proprietary rights, if any, related to the Project Data.
1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as
may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

<suggested new section>

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research purposes, must be reviewed by WPATH and approved by it prior to such publication of use.

9.3     Prior to the publication of the Project Data or any part thereof by the INSTITUTION, WPATH shall have
thirty (30) days in which to review and comment on the proposed publication. The INSTITUTION will give due
regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential Information.
WPATH further has the right to request a delay in publication to allow for any patentable invention to be legally
protected.

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Party. The INSTITUTION shall not mention any commercial brands or trade names in the publication of the Project
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Agreement, the Project conducted hereunder, or to any amendment(s) without WPATH's prior express written
consent, except as required by law.




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-----Original Message-----
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Wednesday, December 20, 2017 2:18 PM
To: Karen Robinson <       REDACTED
Subject: RE: Any update?

Hi Karen,
Thank you for doing this it was very helpful. We discussed the revised language and most was fine as is. There are
still questions around your 1.1.4 below. Can you provide some additional clarification? The board wants it to be
clear that the data cannot be used without WPATH approval in each instance so they have some control over the
context it is being used in.
Thank you, Donna

1.1.4   WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and licenses as
may be required for the INSTITUTION and the INVESTIGATOR to use the Project Data in so far as required by
the INSTITUTION and/or the INVESTIGATOR for education or research purposes.

-----Original Message-----
From: Karen Robinson [mailto    REDACTED
Sent: Tuesday, December 19, 2017 7:34 AM
To: Donna Kelly <donna@wpath.org>
Subject: Any update?

Good morning, Donna.. I am checking in to see if the revised contract text I sent addressed the concerns. Anything I
can do on my end to move forward?
Thanks,
Karen

Sent from my iPhone




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From:             Karen Robinson
To:               "Donna Kelly"
Subject:          RE: contact for the contract?
Date:             Wednesday, September 27, 2017 12:03:19 PM


I don’t envy you the task of finding a common meeting time!
I am willing to be flexible to other options, such as individual calls, as needed.
Thanks,
Karen
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Wednesday, September 27, 2017 11:46 AM
                           REDACTED
To: Karen Robinson <
Subject: RE: contact for the contract?
Excellent Karen.
I am still working on a common time they can all meet. If need be are you will to speak with the
three chairs individually? I think that may be a better approach. I can speak with you first to give you
some direction from the Board and a heads up on some of the points that need to be ironed out
with the Chair.
Thanks
Donna
                                   REDACTED
From: Karen Robinson [mailto:
Sent: Wednesday, September 27, 2017 10:42 AM
To: Donna Kelly <donna@wpath.org>
Subject: RE: contact for the contract?
Donna –
I just wanted to touch base. The contract is with our research office and I hope to get it soon and
then forward to you.
Any word on scheduling of calls?
Thanks,
Karen
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Monday, September 18, 2017 12:04 PM
                            REDACTED
To: Karen Robinson <                        Donna Kelly <donna@wpath.org>
Subject: RE: contact for the contract?
Hi Karen,
I am still working on it, one of our chairs was on holiday.
I will get back to you as soon as possible.
Thank you
Donna
                                   REDACTED
From: Karen Robinson [mailto:
Sent: Monday, September 18, 2017 10:51 AM
To: Donna Kelly <donna@wpath.org>
Subject: RE: contact for the contract?
Donna –
I just wanted to check in. Any word on call with program chairs?


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The contract is working its way through the red tape here at Hopkins and I hope to send it along to
you soon.
Thanks,
Karen
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Tuesday, September 12, 2017 4:31 PM
                           REDACTED
To: Karen Robinson <
Subject: RE: contact for the contract?
Hi Karen,
The contract should come to me and I will share it with the rest of the leadership. I agree it is good
to get started on it now as they may want to send it for legal for review. I imagine if the scope
changes at all based on the call much of the general language would be the same.
Thank you
Donna
                                     REDACTED
From: Karen Robinson [mailto:
Sent: Tuesday, September 12, 2017 7:20 AM
To: Donna Kelly <donna@wpath.org>
Subject: contact for the contract?
Donna –
As we work to schedule a call with the chairs, is there someone I should be in touch with regarding
the contract? I’d like to set those wheels in motion so we can get started as soon as possible.
Thanks,
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
             REDACTED
      REDACTED
  REDACTED
   REDACTED




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From:            Karen Robinson
To:              "Donna Kelly"
Subject:         RE: contact for the contract?
Date:            Wednesday, September 27, 2017 11:42:23 AM


Donna –
I just wanted to touch base. The contract is with our research office and I hope to get it soon and
then forward to you.
Any word on scheduling of calls?
Thanks,
Karen
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Monday, September 18, 2017 12:04 PM
                            REDACTED
To: Karen Robinson <                        Donna Kelly <donna@wpath.org>
Subject: RE: contact for the contract?
Hi Karen,
I am still working on it, one of our chairs was on holiday.
I will get back to you as soon as possible.
Thank you
Donna
                                   REDACTED
From: Karen Robinson [mailto:
Sent: Monday, September 18, 2017 10:51 AM
To: Donna Kelly <donna@wpath.org>
Subject: RE: contact for the contract?
Donna –
I just wanted to check in. Any word on call with program chairs?
The contract is working its way through the red tape here at Hopkins and I hope to send it along to
you soon.
Thanks,
Karen
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Tuesday, September 12, 2017 4:31 PM
                           REDACTED
To: Karen Robinson <
Subject: RE: contact for the contract?
Hi Karen,
The contract should come to me and I will share it with the rest of the leadership. I agree it is good
to get started on it now as they may want to send it for legal for review. I imagine if the scope
changes at all based on the call much of the general language would be the same.
Thank you
Donna
                                   REDACTED
From: Karen Robinson [mailto:
Sent: Tuesday, September 12, 2017 7:20 AM
To: Donna Kelly <donna@wpath.org>
Subject: contact for the contract?
Donna –


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As we work to schedule a call with the chairs, is there someone I should be in touch with regarding
the contract? I’d like to set those wheels in motion so we can get started as soon as possible.
Thanks,
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
             REDACTED
     REDACTED
  REDACTED
   REDACTED




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From:            Karen Robinson
To:              Donna Kelly
Subject:         RE: contact for the contract?
Date:            Monday, September 18, 2017 11:50:00 AM


Donna –
I just wanted to check in. Any word on call with program chairs?
The contract is working its way through the red tape here at Hopkins and I hope to send it along to
you soon.
Thanks,
Karen
From: Donna Kelly [mailto:donna@wpath.org]
Sent: Tuesday, September 12, 2017 4:31 PM
                           REDACTED
To: Karen Robinson <
Subject: RE: contact for the contract?
Hi Karen,
The contract should come to me and I will share it with the rest of the leadership. I agree it is good
to get started on it now as they may want to send it for legal for review. I imagine if the scope
changes at all based on the call much of the general language would be the same.
Thank you
Donna
                                     REDACTED
From: Karen Robinson [mailto:
Sent: Tuesday, September 12, 2017 7:20 AM
To: Donna Kelly <donna@wpath.org>
Subject: contact for the contract?
Donna –
As we work to schedule a call with the chairs, is there someone I should be in touch with regarding
the contract? I’d like to set those wheels in motion so we can get started as soon as possible.
Thanks,
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
             REDACTED
      REDACTED
  REDACTED
   REDACTED




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From:            Karen Robinson
To:              "Donna Kelly"
Subject:         RE: contract language?
Date:            Thursday, December 7, 2017 1:24:03 PM


I would suggest that the text I sent be used to replace section 7 and 9. Again, I will have to send
revised contract through office here. Let me know if this works on your end and I will start that
process.
Thanks
Karen
From: Donna Kelly [mailto:donna@veritasmeetingsolutions.com]
Sent: Thursday, December 07, 2017 1:17 PM
                             REDACTED
To: Karen Robinson <
Subject: RE: contract language?
Hi Karen.
Sorry I mistyped, it is 7, 8 and 9. Whould you please provide comment on section 9.
Thank you
Donna
                                    REDACTED
From: Karen Robinson [mailto:
Sent: Thursday, December 7, 2017 9:48 AM
To: Donna Kelly <donna@veritasmeetingsolutions.com>
Subject: RE: contract language?
Donna –
Thanks for the follow-up information.
Section 6 is standard confidentiality section and I think is ok as is.
I have pasted below some possible replacement text for Section 7 based on a prior contract of
similar work.
Section 8 is about publishing the results of the reviews (called STUDY in contract, and Project Data in
text below), not the SOC.
Let me know if below helps and I will see how to get it through our lawyers.
Thanks,
Karen
1.1 Rights in Data
1.1.1 The term "Project Data" as used herein includes, among others, raw data, research data,
        records, reports, notes, tables, writing, sound recordings, pictorial reproduction, drawings or
        other graphical representations, and works of any similar nature (whether or not
        copyrighted) which are generated or specified to be delivered in connection with the Project
        under this Agreement.
1.1.2 The INSTITUTION ensures that the ownership of the Project Data and all intellectual property
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        with the Project shall automatically be vested in WPATH as soon as they are created or, to
        the extent required, assigned to WPATH.
1.1.3 To the extent not prohibited by mandatory law, the INSTITUTION hereby completely waives
        and agrees not to enforce (and procures that its agents, designees, employees and
        subcontractors waive and agree not to enforce) any intellectual property rights and other



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       proprietary rights, if any, related to the Project Data.
1.1.4 WPATH shall grant the INSTITUTION a royalty-free, nonexclusive license or permissions and
       licenses as may be required for the INSTITUTION and the INVESTIGATOR to use the Project
       Data in so far as required by the INSTITUTION and/or the INVESTIGATOR for education or
       research purposes.
From: Donna Kelly [mailto:donna@veritasmeetingsolutions.com]
Sent: Monday, December 04, 2017 1:54 PM
                          REDACTED
To: Karen Robinson <
Subject: RE: contract language?
Hi Karen,
Attached here again should you not have it handy is the agreement. It is sections 6, 7 and 8. Here are
my notes from the conversation at our board meeting.
* The SOC belongs to WPATH, JHU is being hired to help us with the evidence review and grading of
the evidence. JHU cannot publish their findings independently, the SOC is an internal work product
of WPATH.

* If we are paying for the data review through a fee for services, why wouldn't we own the results?
Define exactly what data belongs to WPATH and what JH considers they own or have limited rights
to. Define the limitations.
Please let me know your thoughts.
Thank you
Donna

                                  REDACTED
From: Karen Robinson [mailto:
Sent: Wednesday, November 29, 2017 11:18 AM
To: Donna Kelly <donna@wpath.org>
Subject: contract language?
Donna –
Could you send me the section(s) or statement(s) in the contract that has caused concern?
Thanks,
Karen




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From:            Karen Robinson
To:              "Donna Kelly"
Subject:         RE: contract language?
Date:            Thursday, December 7, 2017 10:48:26 AM


Donna –
Thanks for the follow-up information.
Section 6 is standard confidentiality section and I think is ok as is.
I have pasted below some possible replacement text for Section 7 based on a prior contract of
similar work.
Section 8 is about publishing the results of the reviews (called STUDY in contract, and Project Data in
text below), not the SOC.
Let me know if below helps and I will see how to get it through our lawyers.
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Sent: Monday, December 04, 2017 1:54 PM
                          REDACTED
To: Karen Robinson <
Subject: RE: contract language?
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my notes from the conversation at our board meeting.
* The SOC belongs to WPATH, JHU is being hired to help us with the evidence review and grading of
the evidence. JHU cannot publish their findings independently, the SOC is an internal work product
of WPATH.

* If we are paying for the data review through a fee for services, why wouldn't we own the results?
Define exactly what data belongs to WPATH and what JH considers they own or have limited rights


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to. Define the limitations.
Please let me know your thoughts.
Thank you
Donna

                                  REDACTED
From: Karen Robinson [mailto:
Sent: Wednesday, November 29, 2017 11:18 AM
To: Donna Kelly <donna@wpath.org>
Subject: contract language?
Donna –
Could you send me the section(s) or statement(s) in the contract that has caused concern?
Thanks,
Karen




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From:              Karen Robinson
To:                Donna Kelly
Cc:                Chanel Livingston
Subject:           contract: JHU and WPATH
Date:              Wednesday, May 2, 2018 2:47:00 PM
Attachments:       WPATH JH SOC8 Contract.pdf


Donna –
Attached is signed contract – note that before this is finalized we need the ‘notices section’
completed with details on to whom and where written notices are to be sent (see page 6).
I have had productive and informative calls with chairs and chapter leads – and another next week.
Thanks!
Karen
-----------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
               REDACTED




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                                Sponsored Research Agreement
                                  Johns Hopkins University

This agreement (the “Agreement”) is entered into as of this First day of April, 2018 (the
“Effective Date”), by and between Johns Hopkins University, on behalf of its School of
Medicine, having an Office of Research Administration located at 733 North Broadway, Suite
117 Baltimore, Maryland, 21205 (“JHU”), and the World Professional Association for
Transgender Health, a private non-profit organization located at 2575 Northwest Parkway, Elgin,
Illinois 60124 (“Sponsor”).

WHEREAS, Sponsor wishes that JHU perform systematic reviews and other activities to support
guideline development and such work is of mutual interest and benefit to the JHU and Sponsor;

WHEREAS, Karen A. Robinson, PhD, Director, JHU Evidence-based Practice Center and
Associate Professor of Medicine shall be JHU’s principal investigator in conducting the research
for Sponsor (“Investigator”); and

WHEREAS, the research will further JHU’s instructional, scholarship, and research objectives in
a manner consistent with its status as a non-profit, tax-exempt, educational institution.

NOW, THEREFORE, in consideration of the following mutual promises, covenants, and
conditions and any sums to be paid, the parties hereto agree as follows:


1.      STATEMENT OF WORK

(a)     JHU agrees to use its reasonable efforts to support update and development of the
Standards of Care for the Health of Transsexual, Transgender, and Gender Noncomforming
People (“Study”), as described in the statement of work for this Study (attached as Exhibit A).
JHU shall perform the Study in accordance with academic standards and all applicable laws and
regulations.

(b)     Sponsor acknowledges that JHU and/or its researchers may be engaged in similar
research not financially supported by Sponsor or subject to this Agreement. Nothing in this
Agreement shall be construed to limit the freedom of JHU and/or its researchers who are
participants in this Agreement, whether paid under this Agreement or not, from engaging in
similar research inquiries made independently under other grants, contracts, or agreements with
parties other than the Sponsor, and Sponsor shall have no rights via this Agreement to the results
of such similar research.

2.      INVESTIGATOR

This Study will be conducted under the direction of the Investigator identified above. In the
event the Investigator should become unavailable to serve in that role, or shall no longer be
employed by JHU, JHU shall have the right to designate a replacement principal investigator,
subject to Sponsor’s reasonable approval. If the parties are unable to identify a mutually




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acceptable replacement principal investigator within sixty (60) days of notification to Sponsor by
JHU of a proposed replacement, then either party may terminate this Agreement in accordance
with the termination provision of this Agreement.


3.      PAYMENT

(a)    In consideration of JHU conducting the Study hereunder, Sponsor shall pay JHU in the
aggregate amount of One Hundred Ninety-Six Three Hundred Seven U.S. Dollars ($196,307).
Payments shall be made in accordance with the following schedule:

        A quarterly payment schedule based on milestones:
        1. $49,076.75 upon initiation of project with signed contract
        2. $49,076.75 upon submission of final PICO document outlining questions for review
        3. $49,076.75 upon submission of the draft report of the systematic reviews
        4. $49,076.75 upon submission of final report of systematic reviews


(b)     Payments shall be made as follows:

        Payable to: The Johns Hopkins University
        Tax I.D. Number: XX-XXXXXXX

        Payments by check shall be sent to:

        Johns Hopkins University Central Lockbox
        c/o Bank of America
        12529 Collections Center Drive
        Chicago, IL 60693

        All electronic fund transfers should be sent to:

        c/o Bank of America
        100 S. Charles Street
        Baltimore, Maryland 21201
        Transit/routing/ABA number: REDACTED
        Account number: REDACTED

        All payments shall include the following reference information:

        1. Name of JHU Investigator
        2. Title of the Study



4.      EQUIPMENT AND PROPERTY




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Unless otherwise explicitly provided, title to and ownership of all equipment, supplies, and
property purchased or manufactured by JHU under this Agreement will be in and remain with
JHU, even after completion or termination of the Agreement.

5.      AUDIT

Authorized representatives of Sponsor or its designee shall have the right no more than once per
contract year, upon reasonable and advance written notice, during regular business hours, and in
accordance with JHU’s applicable policies and procedures, to examine and inspect JHU’s and
the applicable Investigator’s records associated with this Study and inspect and copy all work
products relating to this Study, subject to Section 6 of this Agreement.

6.      PROPRIETARY INFORMATION AND CONFIDENTIALITY

(a)     “Confidential Information” means all non-public, confidential, and/or proprietary
information that is marked as “Confidential Information” as described below and which is
disclosed by one party to the other, including but not limited to software, inventions (whether
patentable or not), algorithms, diagrams, drawings, processes, research, product or strategic plans
or collaborations or partnerships, financial information, or business models. Confidential
Information, if in tangible or readable form, shall be marked as such at the time of disclosure and
if disclosed orally, shall be reduced to writing, marked confidential, and addressed to the other
party within ten (10) days after disclosure.

(b)     Both JHU and Sponsor shall have the right to refuse to accept any Confidential
Information proffered to it by the other. If necessary, the parties will exchange Confidential
Information only under the provisions set forth herein. The party who receives Confidential
Information (the “Receiving Party”) shall (i) hold the Confidential Information in confidence
using the same care it affords its own confidential information of a similar nature, but not less
than a reasonable degree of care; (ii) use the Confidential Information only for the performance
of this Agreement; and (iii) restrict disclosure of the Confidential Information to employees
whose duties justify the need to know the Confidential Information in furtherance of the
performance of this Agreement and who are advised as to the confidential nature of the
information and required to comply with the provisions of this Agreement. The Receiving Party
shall not provide any third parties with access to the Confidential Information unless such third
party has agreed to be bound by confidentiality and non-disclosure obligations in a form of an
agreement reasonably acceptable to the party disclosing the Confidential Information (the
“Disclosing Party”).

(c)     Confidential Information shall not include any information disclosed that the Receiving
Party can demonstrate (i) previously was in its possession, without violation of any obligation of
confidentiality; (ii) was received from a third party without violation of any obligation of
confidentiality; (iii) was publicly known and made generally available prior to such disclosure;
(iv) becomes publicly known and made generally available, through no action or inaction of the
Receiving Party, after such disclosure; or (v) was independently developed without use of any
Confidential Information by employees or consultants of the Receiving Party.




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(d)     If the Receiving Party is required to disclose Confidential Information by order of a court
of competent jurisdiction, administrative agency or governmental body, or by subpoena,
summons, or other legal process, the Receiving Party shall provide the Disclosing Party with
prompt written notice of such required disclosure so that the Disclosing Party may seek a
protective order or take other appropriate action, cooperate reasonably with Disclosing Party in
connection with Disclosing Party’s efforts to seek such relief, and thereafter to disclose only the
minimum information required to be disclosed in order to comply.

(e)    Upon termination of this Agreement or the Disclosing Party’s request, Confidential
Information shall be promptly returned to the Disclosing Party or destroyed, with such
destruction confirmed in writing. The Receiving Party may retain one archival copy of such
Confidential Information, for the purpose of fulfilling its obligations under this Agreement.

(f)     The obligations of confidentiality under this Section shall continue for a period of three
(3) years following conclusion or early termination of this Agreement.


7.      DATA USE AND PUBLICATIONS

The term "Project Data" as used herein includes, among others, raw data, research data, records,
reports, notes, tables, writing, sound recordings, pictorial reproduction, drawings or other
graphical representations, and works of any similar nature (whether or not copyrighted) which
are generated or specified to be delivered by the JHU evidence review team in connection with
the Project under this Agreement. Notwithstanding anything to the contrary contained in this
Agreement, WPATH shall retain the unrestricted right to use the Project Data, or any part thereof at any
time, in any manner and for any purpose, including the publication of the Project Data and the
communication of Project Data to third parties. No other parties other than the JHU evidence review team
will have any access to the Project Data without written permission by WPATH. Prior to the publication
of the Project Data or any part thereof by the JHU evidence review team, WPATH shall have thirty (30)
days in which to review and comment on the proposed publication. The JHU evidence review team will
give due regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential
Information.



8.      TERM AND TERMINATION

(a) Unless earlier terminated in accordance with subsection (b) of this Section, the term
of this agreement shall commence on the Effective Date and shall terminate on 31 March 2019.

(b) This Agreement may be terminated if any of the following events occur: (i) for
convenience by either party upon sixty (60) days written notice to the other party; (ii) either party
materially breaches this Agreement, and the non-breaching party provides the breaching party
with thirty (30) days advance written notice of termination and such breach is not remedied
within such thirty (30) day period; (iii) Sponsor files for creditor protection under any section of
the U.S. Bankruptcy Code; and/or (iv) a bankruptcy trustee or receiver is appointed for Sponsor.



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Upon written notice, JHU shall proceed in an orderly fashion to limit or terminate any
outstanding commitments and to conclude the work. All costs incurred by JHU associated with
termination shall be allowable including, without limitation, all non-cancelable costs or
commitments incurred or obligated and work performed prior to the effective date of
termination, which shall include all appointment of research staff prior to the effective date of
termination.


9.      INDEMNIFICATION

Sponsor (the “Indemnifying Party”) shall indemnify, defend, and hold harmless JHU, its trustees,
officers, employees, students, agents, and representatives (collectively, the “JHU Indemnitees”)
from and against any and all losses, liability, cost, and expenses, including attorney’s fees and
costs, awards, judgments, damages, fines, penalties, claims, and causes of action (collectively,
“Claims”) arising out of or related to the negligent acts or omissions or misconduct of the
Indemnifying Party or any of its officers, directors, employees, agents, representatives,
contractors, successors, assigns, or anyone acting on any of their behalf in connection with,
arising from, or related to the performance of the Indemnifying Party’s obligations under this
Agreement, including Claims for (i) personal injury, including death, and damage to property;
(ii) the breach by the Indemnifying Party of any term, representation, warranty, or covenant
under this Agreement; or (iii) any use by Indemnifying Party of the research data or results
including use of any intellectual property generated in the research that is provided hereunder.
JHU shall not be liable to Sponsor, its officers, employees, agents, representatives, contractors,
successors, assigns, or anyone acting on any of their behalf for injuries or losses arising out of
the use by the Sponsor of the Study’s research data or results.

10.     NOTICES

With the exception of Study funds paid by Sponsor pursuant to Section 3 hereof, all notices
required or permitted to be given under this Agreement shall be in writing and shall be sent by
certified or registered mail, postage prepaid, or by overnight courier, with proof of delivery by
receipt, to the following address (or as either party shall designate by written notice to the other
party):

        If to Sponsor:
        _____________________________
        _____________________________
        _____________________________
        _____________________________

        If to JHU:

        original to:   Michael B. Amey
                       Senior Associate Dean, Research Affairs
                       Johns Hopkins University School of Medicine
                       Office of Research Administration




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                       733 North Broadway, Suite 117
                       Baltimore, Maryland 21205

       copy to: Investigator

11.    INDEPENDENT CONTRACTORS

JHU and Sponsor shall each be and remain an independent contractor with respect to all rights
and obligations arising under this Agreement. Nothing contained in this Agreement shall be
deemed or construed to create a relationship of employment, principal and agent, partnership, co-
or joint employer, or joint venture. Sponsor shall not permit any of its officers, directors, agents,
employees, representatives, contractors, successors, assigns, or anyone acting on their behalf to
represent or hold out itself or themselves as employees, agents, or representatives of JHU or as
authorized to make any commitment to incur any obligation on behalf of JHU.

12.    USE OF OTHER PARTIES’ NAMES

Sponsor shall not (a) issue a press release or make any other public statement that references this
Agreement or discloses the Study results; or (b) use the names, logos, or trademarks (or
derivatives thereof) of JHU, or its staff, contractors, or sub-contractors, for publicity or
advertising purposes, except with the prior written consent of JHU, which consent may be
withheld in JHU’s sole discretion. All requests for JHU approval shall be directed to the JHU
Office of Communications. JHU shall not use the names, logos, or trademarks of Sponsor, or its
staff, contractors, or sub-contractors, for publicity or advertising purposes, except with the prior
consent of Sponsor. Notwithstanding the foregoing, Sponsor acknowledges and agrees that JHU
and its Investigator may disclose the existence of the funding support from Sponsor in any
publication of the research, and as required by law.

13.    WARRANTY DISCLAIMERS

JHU DISCLAIMS AND MAKES NO WARRANTIES OF ANY KIND, EITHER EXPRESS
OR IMPLIED, AS TO ANY MATTER, INCLUDING BUT NOT LIMITED TO WARRANTY
OR FITNESS FOR A PARTICULAR PURPOSE, MERCHANTABILITY, PATENTABILITY,
OR THAT THE SPONSOR’S USE OF THE STUDY RESEARCH RESULTS WILL BE FREE
FROM INFRINGEMENT OF PATENTS, COPYRIGHTS, TRADEMARKS, OR OTHER
RIGHTS OF THIRD PARTIES.

14.    EXPORT CONTROLS

Both parties shall comply with the United States laws and regulations controlling the export of
technical data, computer software, laboratory prototypes, and other commodities (including the
Arms Export Control Act, as amended, and the Export Administration Act of 1979). JHU’s
obligations hereunder are contingent on its ability to comply with applicable United States export
and embargo laws and regulations. It is the expectation of JHU that the work done by JHU
under this Agreement shall constitute fundamental research as defined under the export control
laws and regulations. As an institution of higher learning, JHU does not wish to take receipt of




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export controlled information except as may be knowingly and expressly agreed to in a writing
signed by an authorized representative of JHU and for which JHU has made specific security
arrangements. Sponsor agrees that it shall not provide or make accessible to JHU any export
controlled materials (including, without limitation, equipment, information, and/or data) without
first informing JHU of the export-controlled nature of the materials and obtaining from JHU’s
Export Compliance Office prior written consent to accept such materials, as well as any specific
instructions regarding the mechanism pursuant to which such materials should be passed to JHU.
JHU may decide, in its sole discretion, that it is not willing accept such materials. Sponsor agrees
to comply with any and all applicable United States export control laws and regulations, as well
any and all embargoes and/or other restrictions imposed by the Treasury Department’s Office of
Foreign Asset Controls.

15.    SEVERABILITY

If any provision or a portion of any provision of this Agreement is held to be invalid, illegal, or
unenforceable by a court of competent jurisdiction, the validity, legality, and enforceability of
the remaining provisions of this Agreement shall not be affected or impaired in any way.

16.     SURVIVABILITY

The terms of this Agreement which by their nature and for any reason are intended to survive
and extend beyond the termination, cancellation, or expiration of this Agreement, shall remain in
effect and be binding upon the parties beyond such time. Such terms shall include without
limitation those that confer rights based on prior breaches or performance.

17.     MODIFICATIONS

No amendment, modification, or addition to this Agreement will be binding upon the parties
hereto unless reduced to writing and signed by an authorized representative of each party.

18.    GOVERNING LAW

The laws of the State of Maryland, without giving effect to its choice of law provisions, shall
govern all matters arising out of or relating to this Agreement, including, without limitation, its
interpretation, construction, performance, and enforcement. Any legal suit, action, or proceeding
arising out of or relating to this Agreement shall be brought in the Circuit Court for Baltimore
City or in the United States District Court for the District of Maryland. Each of the parties
waives, to the fullest extent permitted by law, any objection which it may now or later have to
the exclusive jurisdiction of or the laying of venue in the Circuit Court for Baltimore City,
Maryland or the United States District Court for the District of Maryland, including any
objections based upon inconvenient forum. The parties agree that a final judgment in any such
suit, action, or proceeding may be enforced in other jurisdictions as provided by law.

19.    FORCE MAJEURE

Neither party will be responsible for or liable to the other party for non-performance or delay in




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performance of any terms or conditions of this Agreement due to acts or occurrences beyond the
reasonable control of the nonperforming or delayed party. Such causes include, but are not
limited to, acts of God, acts of government, embargoes, terrorism, wars, riots, strikes or other
labor disputes, shortages of labor or materials, hurricanes, fires, floods, or any other
circumstances of like character. The party whose performance is delayed or prevented shall
promptly provide to the other party written notice of the existence of and the reason for such
non-performance or delay, and shall work diligently to mitigate its effects and make best efforts
to resume performance as soon as practicable.

20.    ENTIRE AGREEMENT

This Agreement, including any exhibits, attachments, and documents referenced herein, which
are incorporated into this Agreement, constitutes the final agreement between the parties. It is the
complete and exclusive expression of the parties’ agreement on the matters contained in this
Agreement. All prior and contemporaneous negotiations and agreements between the parties on
the matters contained in this Agreement are expressly merged into and superseded by this
Agreement. In entering into this Agreement, neither party has relied upon any statement,
representation, warranty, or agreement of the other party except for those expressly contained in
this Agreement. There are no conditions precedent to the effectiveness of this Agreement other
than those expressly stated in this Agreement.

21.    HEADINGS

The headings in this Agreement are for the convenience of reference only and are not substantive
parts of this Agreement nor shall they affect its interpretation.


22.   ASSIGNMENT AND DELEGATION

Sponsor may not assign this Agreement nor assign any of its rights under this Agreement, except
with the prior written consent of JHU. Sponsor may not delegate any part of its performance
under this Agreement without the prior written consent of JHU, which may be withheld in its
sole discretion. Any purported assignment of rights or delegation of performance in violation of
this Section 24 is void.

23     BINDING AGREEMENT ON SUCCESSORS

This Agreement shall be binding upon each party’s successors and assigns.

24     WAIVER

Failure on the part of any party, in any or more than one instance, to insist upon the performance
of any of the terms, covenants, or conditions of this Agreement or to exercise any right or
privilege contained within this Agreement, or the waiver by any party of any breach of any of the
terms, covenants, or conditions of this Agreement shall not be construed as thereafter waiving
any such terms, covenants, conditions, rights, or privileges, but the same shall continue and




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  remain in full force and effect, as if no such forbearance of waiver had occurred.


  25.    COUNTERPARTS

  This Agreement may be executed in multiple counterparts, and by either party on separate
  counterpart, including by facsimile or PDF delivery, each of which is deemed an original and
  all of which constitute one and the same agreement.


        In Witness Whereof, the parties have caused this Agreement to be executed by their
 duly authorized representatives as of the Effective Date.



 JOHNS HOPKINS UNIVERSITY                              SPONSOR


 By:                                                  By:    /4(&,/
Name: Stephen B. Fisher                               Nam:JZ)l       /�uQsorJ
Title: Associate Director, ORA                        Title:  Aes
                                                                IOcNT; IALPATl-1
Date:                                                 Date: ldARLH 3o} ;}JJ/o




Read and Agreed to abide by the terms contained herein, but not as a party hereto:


Investigator




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Exhibit A – Statement of Work

JHU will provide services to support WPATH and SOC8:
1) In consultation with WPATH personnel, draft initial guidelines development process or “WPATH
   Guideline Procedures Manual”.
2) Orientation to the guideline development process and refinement of the scope. This includes:
        a. presentation and discussion of systematic review and guideline development processes
            with WPATH personnel, especially the guideline chairs and chapter leads
        b. preliminary searching
        c. identification of statements within chapters for which systematic reviews will be
            conducted, and which will be ‘best practice statements’ based on consensus expert
            opinion
3) Conduct systematic reviews for the topics selected, including:
        a. refinement of questions using PICO format (population, intervention, comparison,
            outcome)
        b. search for evidence
        c. screen results
        d. data extraction
        e. data assessment and synthesis
        f. grade certainty or confidence in evidence
        g. presentation of results to guideline panel (e.g., report, evidence and summary tables,
            in-person presentation to panel).
4) Provide orientation and guidance to guideline panel in interpreting results of systematic
   reviews, in developing recommendation statements, and in grading the recommendation
   statements. This includes providing guidance on development of consensus-based or good
   practice statements.
5) Provide critical feedback on statements and guideline document(s). * We understand need to,
   and will facilitate, the presentation of details on the process and, at least, some chapters at
   the WPATH World Congress.
6) Provide assistance in submission of relevant guideline modules or chapters to the National
   Guideline Clearinghouse (guidelines.gov).




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From:            Karen Robinson
To:              "vin.tangpricha@emory.edu"
Subject:         FW: contract language
Date:            Wednesday, March 7, 2018 2:11:36 PM


Vin –
Thanks very much for the discussion just now. As promised, I have included below the email I sent to
Donna yesterday.
I will work on sending back to you and Donna a new version of the contract with text about
publications and use of data noting “our research team” (versus institution).
Thanks,
Karen
From: Karen Robinson
Sent: Tuesday, March 06, 2018 9:57 AM
To: 'Donna Kelly' <donna@veritasmeetingsolutions.com>; Donna Kelly <donna@wpath.org>
Subject: contract language
Donna –
I am about to have a call with Eli, Jon and Asa to discuss next steps. I hope that my team and I will be
participating in the next steps.
I am happy to have a call with you and/or board members to discuss the contract language. Briefly, I
cannot and Hopkins will not, sign off on a contract with the proposed language from WPATH
mandating approval of any publications of research we conduct. There are two reasons for this:
     1. First, Hopkins as an academic institution, and I as a faculty member therein, will not sign
          something that limits academic freedom in this manner. In other words, a sponsor cannot
          change or suppress publication of research.
     2. Second, I will not sign off on language that goes against current standards in systematic
          reviews and in guideline development. It was my understanding that WPATH wanted to
          move toward the current standards for guideline development. To do so, the review team
          needs to be independent. (see IOM standards:
          http://www.nationalacademies.org/hmd/Reports/2011/Finding-What-Works-in-Health-
          Care-Standards-for-Systematic-Reviews/Standards.aspx and
          http://www.nationalacademies.org/hmd/Reports/2011/Clinical-Practice-Guidelines-We-Can-
          Trust/Standards.aspx).
I hope we can come to agreement. In meantime, I will keep discussion this morning to general terms
and not assume that I will continue to be involved.
Thanks,
Karen
------------------------
Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
            REDACTED




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                                Sponsored Research Agreement
                                  Johns Hopkins University

This agreement (the “Agreement”) is entered into as of this ___ day of October, 2017 (the
“Effective Date”), by and between Johns Hopkins University, on behalf of its School of
Medicine, having an Office of Research Administration located at 733 North Broadway, Suite
117 Baltimore, Maryland, 21205 (“JHU”), and the World Professional Association for
Transgender Health, a private non-profit organization located at 2575 Northwest Parkway, Elgin,
Illinois 60124 (“Sponsor”).

WHEREAS, Sponsor wishes that JHU perform systematic reviews and other activities to support
guideline development and such work is of mutual interest and benefit to the JHU and Sponsor;

WHEREAS, Karen A. Robinson, PhD, Director, JHU Evidence-based Practice Center and
Associate Professor of Medicine shall be JHU’s principal investigator in conducting the research
for Sponsor (“Investigator”); and

WHEREAS, the research will further JHU’s instructional, scholarship, and research objectives in
a manner consistent with its status as a non-profit, tax-exempt, educational institution.

NOW, THEREFORE, in consideration of the following mutual promises, covenants, and
conditions and any sums to be paid, the parties hereto agree as follows:


1.      STATEMENT OF WORK

(a)     JHU agrees to use its reasonable efforts to support update and development of the
Standards of Care for the Health of Transsexual, Transgender, and Gender Noncomforming
People (“Study”), as described in the statement of work for this Study (attached as Exhibit A).
JHU shall perform the Study in accordance with academic standards and all applicable laws and
regulations.

(b)     Sponsor acknowledges that JHU and/or its researchers may be engaged in similar
research not financially supported by Sponsor or subject to this Agreement. Nothing in this
Agreement shall be construed to limit the freedom of JHU and/or its researchers who are
participants in this Agreement, whether paid under this Agreement or not, from engaging in
similar research inquiries made independently under other grants, contracts, or agreements with
parties other than the Sponsor, and Sponsor shall have no rights via this Agreement to the results
of such similar research.

2.      INVESTIGATOR

This Study will be conducted under the direction of the Investigator identified above. In the
event the Investigator should become unavailable to serve in that role, or shall no longer be
employed by JHU, JHU shall have the right to designate a replacement principal investigator,
subject to Sponsor’s reasonable approval. If the parties are unable to identify a mutually




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acceptable replacement principal investigator within sixty (60) days of notification to Sponsor by
JHU of a proposed replacement, then either party may terminate this Agreement in accordance
with the termination provision of this Agreement.


3.      PAYMENT

(a)    In consideration of JHU conducting the Study hereunder, Sponsor shall pay JHU in the
aggregate amount of One Hundred Ninety-Six Three Hundred Seven U.S. Dollars ($196,307).
Payments shall be made in accordance with the following schedule:

        A quarterly payment schedule based on milestones:
        1. $49,076.75 upon initiation of project with signed contract
        2. $49,076.75 upon submission of final PICO document outlining questions for review
        3. $49,076.75 upon submission of the draft report of the systematic reviews
        4. $49,076.75 upon submission of final report of systematic reviews


(b)     Payments shall be made as follows:

        Payable to: The Johns Hopkins University
        Tax I.D. Number: XX-XXXXXXX

        Payments by check shall be sent to:

        Johns Hopkins University Central Lockbox
        c/o Bank of America
        12529 Collections Center Drive
        Chicago, IL 60693

        All electronic fund transfers should be sent to:

        c/o Bank of America
        100 S. Charles Street
        Baltimore, Maryland 21201
        Transit/routing/ABA number: 052001633
        Account number: 003936830516

        All payments shall include the following reference information:

        1. Name of JHU Investigator
        2. Title of the Study



4.      EQUIPMENT AND PROPERTY




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Unless otherwise explicitly provided, title to and ownership of all equipment, supplies, and
property purchased or manufactured by JHU under this Agreement will be in and remain with
JHU, even after completion or termination of the Agreement.

5.      AUDIT

Authorized representatives of Sponsor or its designee shall have the right no more than once per
contract year, upon reasonable and advance written notice, during regular business hours, and in
accordance with JHU’s applicable policies and procedures, to examine and inspect JHU’s and
the applicable Investigator’s records associated with this Study and inspect and copy all work
products relating to this Study, subject to Section 6 of this Agreement.

6.      PROPRIETARY INFORMATION AND CONFIDENTIALITY

(a)      “Confidential Information” means all non-public, confidential, and/or proprietary
information that is marked as “Confidential Information” as described below and which is
disclosed by one party to the other, including but not limited to software, inventions (whether
patentable or not), algorithms, diagrams, drawings, processes, research, product or strategic plans
or collaborations or partnerships, financial information, or business models. Confidential
Information, if in tangible or readable form, shall be marked as such at the time of disclosure and
if disclosed orally, shall be reduced to writing, marked confidential, and addressed to the other
party within ten (10) days after disclosure.

(b)     Both JHU and Sponsor shall have the right to refuse to accept any Confidential
Information proffered to it by the other. If necessary, the parties will exchange Confidential
Information only under the provisions set forth herein. The party who receives Confidential
Information (the “Receiving Party”) shall (i) hold the Confidential Information in confidence
using the same care it affords its own confidential information of a similar nature, but not less
than a reasonable degree of care; (ii) use the Confidential Information only for the performance
of this Agreement; and (iii) restrict disclosure of the Confidential Information to employees
whose duties justify the need to know the Confidential Information in furtherance of the
performance of this Agreement and who are advised as to the confidential nature of the
information and required to comply with the provisions of this Agreement. The Receiving Party
shall not provide any third parties with access to the Confidential Information unless such third
party has agreed to be bound by confidentiality and non-disclosure obligations in a form of an
agreement reasonably acceptable to the party disclosing the Confidential Information (the
“Disclosing Party”).

(c)     Confidential Information shall not include any information disclosed that the Receiving
Party can demonstrate (i) previously was in its possession, without violation of any obligation of
confidentiality; (ii) was received from a third party without violation of any obligation of
confidentiality; (iii) was publicly known and made generally available prior to such disclosure;
(iv) becomes publicly known and made generally available, through no action or inaction of the
Receiving Party, after such disclosure; or (v) was independently developed without use of any
Confidential Information by employees or consultants of the Receiving Party.




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(d)     If the Receiving Party is required to disclose Confidential Information by order of a court
of competent jurisdiction, administrative agency or governmental body, or by subpoena,
summons, or other legal process, the Receiving Party shall provide the Disclosing Party with
prompt written notice of such required disclosure so that the Disclosing Party may seek a
protective order or take other appropriate action, cooperate reasonably with Disclosing Party in
connection with Disclosing Party’s efforts to seek such relief, and thereafter to disclose only the
minimum information required to be disclosed in order to comply.

(e)    Upon termination of this Agreement or the Disclosing Party’s request, Confidential
Information shall be promptly returned to the Disclosing Party or destroyed, with such
destruction confirmed in writing. The Receiving Party may retain one archival copy of such
Confidential Information, for the purpose of fulfilling its obligations under this Agreement.

(f)     The obligations of confidentiality under this Section shall continue for a period of three
(3) years following conclusion or early termination of this Agreement.


7.      DATA USE AND PUBLICATIONS

The term "Project Data" as used herein includes, among others, raw data, research data, records,
reports, notes, tables, writing, sound recordings, pictorial reproduction, drawings or other
graphical representations, and works of any similar nature (whether or not copyrighted) which
are generated or specified to be delivered by the JHU evidence review team in connection with
the Project under this Agreement. Notwithstanding anything to the contrary contained in this
Agreement, WPATH shall retain the unrestricted right to use the Project Data, or any part thereof at any
time, in any manner and for any purpose, including the publication of the Project Data and the
communication of Project Data to third parties. No other parties other than the JHU evidence review team
will have any access to the Project Data without written permission by WPATH. Prior to the publication
of the Project Data or any part thereof by the JHU evidence review team, WPATH shall have thirty (30)
days in which to review and comment on the proposed publication. The JHU evidence review team will
give due regard to WPATH's comments. WPATH has the right to request the deletion of any Confidential
Information.



8.      TERM AND TERMINATION

(a) Unless earlier terminated in accordance with subsection (b) of this Section, the term
of this agreement shall commence on the Effective Date and shall terminate on _________.

(b) This Agreement may be terminated if any of the following events occur: (i) for
convenience by either party upon sixty (60) days written notice to the other party; (ii) either party
materially breaches this Agreement, and the non-breaching party provides the breaching party
with thirty (30) days advance written notice of termination and such breach is not remedied
within such thirty (30) day period; (iii) Sponsor files for creditor protection under any section of
the U.S. Bankruptcy Code; and/or (iv) a bankruptcy trustee or receiver is appointed for Sponsor.



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Upon written notice, JHU shall proceed in an orderly fashion to limit or terminate any
outstanding commitments and to conclude the work. All costs incurred by JHU associated with
termination shall be allowable including, without limitation, all non-cancelable costs or
commitments incurred or obligated and work performed prior to the effective date of
termination, which shall include all appointment of research staff prior to the effective date of
termination.


9.      INDEMNIFICATION

Sponsor (the “Indemnifying Party”) shall indemnify, defend, and hold harmless JHU, its trustees,
officers, employees, students, agents, and representatives (collectively, the “JHU Indemnitees”)
from and against any and all losses, liability, cost, and expenses, including attorney’s fees and
costs, awards, judgments, damages, fines, penalties, claims, and causes of action (collectively,
“Claims”) arising out of or related to the negligent acts or omissions or misconduct of the
Indemnifying Party or any of its officers, directors, employees, agents, representatives,
contractors, successors, assigns, or anyone acting on any of their behalf in connection with,
arising from, or related to the performance of the Indemnifying Party’s obligations under this
Agreement, including Claims for (i) personal injury, including death, and damage to property;
(ii) the breach by the Indemnifying Party of any term, representation, warranty, or covenant
under this Agreement; or (iii) any use by Indemnifying Party of the research data or results
including use of any intellectual property generated in the research that is provided hereunder.
JHU shall not be liable to Sponsor, its officers, employees, agents, representatives, contractors,
successors, assigns, or anyone acting on any of their behalf for injuries or losses arising out of
the use by the Sponsor of the Study’s research data or results.

10.     NOTICES

With the exception of Study funds paid by Sponsor pursuant to Section 3 hereof, all notices
required or permitted to be given under this Agreement shall be in writing and shall be sent by
certified or registered mail, postage prepaid, or by overnight courier, with proof of delivery by
receipt, to the following address (or as either party shall designate by written notice to the other
party):

        If to Sponsor:
        _____________________________
        _____________________________
        _____________________________
        _____________________________

        If to JHU:

        original to:   Michael B. Amey
                       Senior Associate Dean, Research Affairs
                       Johns Hopkins University School of Medicine
                       Office of Research Administration




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                       733 North Broadway, Suite 117
                       Baltimore, Maryland 21205

       copy to: Investigator

11.    INDEPENDENT CONTRACTORS

JHU and Sponsor shall each be and remain an independent contractor with respect to all rights
and obligations arising under this Agreement. Nothing contained in this Agreement shall be
deemed or construed to create a relationship of employment, principal and agent, partnership, co-
or joint employer, or joint venture. Sponsor shall not permit any of its officers, directors, agents,
employees, representatives, contractors, successors, assigns, or anyone acting on their behalf to
represent or hold out itself or themselves as employees, agents, or representatives of JHU or as
authorized to make any commitment to incur any obligation on behalf of JHU.

12.    USE OF OTHER PARTIES’ NAMES

Sponsor shall not (a) issue a press release or make any other public statement that references this
Agreement or discloses the Study results; or (b) use the names, logos, or trademarks (or
derivatives thereof) of JHU, or its staff, contractors, or sub-contractors, for publicity or
advertising purposes, except with the prior written consent of JHU, which consent may be
withheld in JHU’s sole discretion. All requests for JHU approval shall be directed to the JHU
Office of Communications. JHU shall not use the names, logos, or trademarks of Sponsor, or its
staff, contractors, or sub-contractors, for publicity or advertising purposes, except with the prior
consent of Sponsor. Notwithstanding the foregoing, Sponsor acknowledges and agrees that JHU
and its Investigator may disclose the existence of the funding support from Sponsor in any
publication of the research, and as required by law.

13.    WARRANTY DISCLAIMERS

JHU DISCLAIMS AND MAKES NO WARRANTIES OF ANY KIND, EITHER EXPRESS
OR IMPLIED, AS TO ANY MATTER, INCLUDING BUT NOT LIMITED TO WARRANTY
OR FITNESS FOR A PARTICULAR PURPOSE, MERCHANTABILITY, PATENTABILITY,
OR THAT THE SPONSOR’S USE OF THE STUDY RESEARCH RESULTS WILL BE FREE
FROM INFRINGEMENT OF PATENTS, COPYRIGHTS, TRADEMARKS, OR OTHER
RIGHTS OF THIRD PARTIES.

14.    EXPORT CONTROLS

Both parties shall comply with the United States laws and regulations controlling the export of
technical data, computer software, laboratory prototypes, and other commodities (including the
Arms Export Control Act, as amended, and the Export Administration Act of 1979). JHU’s
obligations hereunder are contingent on its ability to comply with applicable United States export
and embargo laws and regulations. It is the expectation of JHU that the work done by JHU
under this Agreement shall constitute fundamental research as defined under the export control
laws and regulations. As an institution of higher learning, JHU does not wish to take receipt of




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export controlled information except as may be knowingly and expressly agreed to in a writing
signed by an authorized representative of JHU and for which JHU has made specific security
arrangements. Sponsor agrees that it shall not provide or make accessible to JHU any export
controlled materials (including, without limitation, equipment, information, and/or data) without
first informing JHU of the export-controlled nature of the materials and obtaining from JHU’s
Export Compliance Office prior written consent to accept such materials, as well as any specific
instructions regarding the mechanism pursuant to which such materials should be passed to JHU.
JHU may decide, in its sole discretion, that it is not willing accept such materials. Sponsor agrees
to comply with any and all applicable United States export control laws and regulations, as well
any and all embargoes and/or other restrictions imposed by the Treasury Department’s Office of
Foreign Asset Controls.

15.    SEVERABILITY

If any provision or a portion of any provision of this Agreement is held to be invalid, illegal, or
unenforceable by a court of competent jurisdiction, the validity, legality, and enforceability of
the remaining provisions of this Agreement shall not be affected or impaired in any way.

16.     SURVIVABILITY

The terms of this Agreement which by their nature and for any reason are intended to survive
and extend beyond the termination, cancellation, or expiration of this Agreement, shall remain in
effect and be binding upon the parties beyond such time. Such terms shall include without
limitation those that confer rights based on prior breaches or performance.

17.     MODIFICATIONS

No amendment, modification, or addition to this Agreement will be binding upon the parties
hereto unless reduced to writing and signed by an authorized representative of each party.

18.    GOVERNING LAW

The laws of the State of Maryland, without giving effect to its choice of law provisions, shall
govern all matters arising out of or relating to this Agreement, including, without limitation, its
interpretation, construction, performance, and enforcement. Any legal suit, action, or proceeding
arising out of or relating to this Agreement shall be brought in the Circuit Court for Baltimore
City or in the United States District Court for the District of Maryland. Each of the parties
waives, to the fullest extent permitted by law, any objection which it may now or later have to
the exclusive jurisdiction of or the laying of venue in the Circuit Court for Baltimore City,
Maryland or the United States District Court for the District of Maryland, including any
objections based upon inconvenient forum. The parties agree that a final judgment in any such
suit, action, or proceeding may be enforced in other jurisdictions as provided by law.

19.    FORCE MAJEURE

Neither party will be responsible for or liable to the other party for non-performance or delay in




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performance of any terms or conditions of this Agreement due to acts or occurrences beyond the
reasonable control of the nonperforming or delayed party. Such causes include, but are not
limited to, acts of God, acts of government, embargoes, terrorism, wars, riots, strikes or other
labor disputes, shortages of labor or materials, hurricanes, fires, floods, or any other
circumstances of like character. The party whose performance is delayed or prevented shall
promptly provide to the other party written notice of the existence of and the reason for such
non-performance or delay, and shall work diligently to mitigate its effects and make best efforts
to resume performance as soon as practicable.

20.     ENTIRE AGREEMENT

This Agreement, including any exhibits, attachments, and documents referenced herein, which
are incorporated into this Agreement, constitutes the final agreement between the parties. It is the
complete and exclusive expression of the parties’ agreement on the matters contained in this
Agreement. All prior and contemporaneous negotiations and agreements between the parties on
the matters contained in this Agreement are expressly merged into and superseded by this
Agreement. In entering into this Agreement, neither party has relied upon any statement,
representation, warranty, or agreement of the other party except for those expressly contained in
this Agreement. There are no conditions precedent to the effectiveness of this Agreement other
than those expressly stated in this Agreement.

21.     HEADINGS

The headings in this Agreement are for the convenience of reference only and are not substantive
parts of this Agreement nor shall they affect its interpretation.


22.    ASSIGNMENT AND DELEGATION

Sponsor may not assign this Agreement nor assign any of its rights under this Agreement, except
with the prior written consent of JHU. Sponsor may not delegate any part of its performance
under this Agreement without the prior written consent of JHU, which may be withheld in its
sole discretion. Any purported assignment of rights or delegation of performance in violation of
this Section 24 is void.

23      BINDING AGREEMENT ON SUCCESSORS

This Agreement shall be binding upon each party’s successors and assigns.

24      WAIVER

Failure on the part of any party, in any or more than one instance, to insist upon the performance
of any of the terms, covenants, or conditions of this Agreement or to exercise any right or
privilege contained within this Agreement, or the waiver by any party of any breach of any of the
terms, covenants, or conditions of this Agreement shall not be construed as thereafter waiving
any such terms, covenants, conditions, rights, or privileges, but the same shall continue and




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remain in full force and effect, as if no such forbearance of waiver had occurred.


25.    COUNTERPARTS

This Agreement may be executed in multiple counterparts, and by either party on separate
counterpart, including by facsimile or PDF delivery, each of which is deemed an original and all
of which constitute one and the same agreement.


       In Witness Whereof, the parties have caused this Agreement to be executed by their duly
authorized representatives as of the Effective Date.



JOHNS HOPKINS UNIVERSITY                             SPONSOR


By:    _________________________                     By:     _________________________

Name: Stephen B. Fisher                              Name: _________________________

Title: Associate Director, ORA                       Title: __________________________

Date: _________________________                      Date: _________________________




Read and Agreed to abide by the terms contained herein, but not as a party hereto:

_________________________
Investigator




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Policy & Procedures Regarding the use of WPATH SOC8 data

Background to the Policy

In April 2018 WPATH commissioned John Hopkins University (JHU) to
support the development of the 8th edition of the Standards of Care for the
Health of Transsexual, Transgender, and Gender Nonconforming People
(SOC8). WPATH entered into a Sponsored Research Agreement with Johns
Hopkins University on behalf of its School of Medicine with Dr Karen A.
Robinson, Director at JHU Evidence-based Practice Center as principal
investigator in conducting the research for WPATH. WPATH contracted Dr
Robinson and her team to perform systematic literature reviews and other
activities to support the development of the 8th edition of SOC.

The contract between WPATH and JHU states the following regarding Data
use and Publications: “the term "Data" principally includes raw data,
research data, records, reports, notes, tables, writing, sound recordings,
pictorial reproduction, drawings or other graphical representations, and
works of any similar nature (whether or not copyrighted) which are
generated or specified to be delivered by Dr Robinson and her team in
connection with the update and development of the SOC8”.

“Notwithstanding anything to the contrary contained in the contract between
WPATH and JHU, WPATH shall retain the unrestricted right to use the
Data, or any part thereof at any time, in any manner and for any purpose,
including the publication of the Data and the communication of Data to third
parties. No other parties other than Dr Robinson and her team will have any
access to the Data without written permission by WPATH. Prior to the
publication of the Data or any part thereof by Dr Robinson and her team,
WPATH shall have thirty (30) days in which to review and comment on the
proposed publication. Dr Robinson and her team will give due regard to
WPATH's comments. WPATH has the right to request the deletion of any
content within materials intended for publication by Dr Robinson and her
team*”.

WPATH Policy Use of Data for SOC8
Approved by WPATH Board of Directors
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Since the start of the contract between WPATH and JHU Dr Robinson and
her team have provided systematic literature reviews for the development of
statements of the following chapters: Assessment, Primary Care,
Endocrinology, Surgery, Reproductive Medicine, and Voice Therapy. Dr
Robinson and team have also provided guidance regarding the methodology
of the SOC8 and feedback for some of the statements.

Aim of the Policy

WPATH commissioned and financed an update and the development of the
SOC8 for the benefit of transgender healthcare in order to promote health,
research, education, respect, dignity, and equality for trans people globally.

Therefore, the aim is of this policy is to develop a process to ensure that any
manuscripts developed from the systematic literature reviews commissioned
by WPATH benefit transgender healthcare and promote health, research,
education, respect, dignity, and equality for transgender people globally.

A decision-making process to give access to the Data should be underpinned
by a number of good practice directives. Hence, WPATH grants access to
the data to any interested party, which:

   a. has the intention to use the Data for the benefit of advancing
      transgender health in a positive manner and;
   b. has the intention to publish the Data in reputable, academic, peer-
      reviewed journals and;
   c. involves the Work Group Leader of the Chapter or, alternatively, a
      designated representative of that specific SOC8 Chapter, or
      alternatively the Chair or Co-Chairs of the SOC8 in the design,
      drafting of the article, and the final approval of the article and;
   d. involves at least one member of the transgender community in the
      design, drafting of the article, and the final approval of the article
      and**;
   e. adheres to the WPATH Language Policy***.

Pathway to approval for use of WPATH Data

WPATH grants approval to use the Data for publication to any interested
party, when:
WPATH Policy Use of Data for SOC8
Approved by WPATH Board of Directors
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    a. the directives outlined under the aim of this policy have been fulfilled
       and;
    b. the author(s) have acknowledged that WPATH has sponsored the
       acquisition of the data in the publication and;
    c. the author(s) have acknowledged that the authors are solely
       responsible for the content of the manuscript, and the manuscript does
       not necessarily reflect the view of WPATH in the publication and;
    d. The publication (“manuscript”) has been approved by WPATH via a
       designated approval process.

    Designated approval process for publication of the Data

    a. Author(s) submit publication to WPATH
    b. It is WPATH Executive Committee’s responsibility to ensure that the
       manuscript is disseminated to the Chair of the SOC8, the Co-Chairs of
       the SOC8, and the members of the WPATH Board of Directors within
       7 days after receipt of the manuscript.
    c. It is WPATH Executive Committee’s responsibility to ensure that a
       vote is held within 14 days after the dissemination of the manuscript
       to the Chair and Co-Chairs of the SOC8 and Board members.
    d. It will be a blind vote and approval is granted to author(s) for
       publication by majority vote. The Chair and Co-Chairs of the SOC8
       and Board members all have one equal vote. In case of a bind, the
       WPATH President will have the deciding vote.
    e. It is the President’s responsibility to respond to the author(s) with
       approval or disapproval within thirty (30) days of submission of the
       manuscript to WPATH.
    f. In case of disapproval, the President may decide to hold a special
       meeting with the Chair and Co-Chairs of the SOC8 and Board
       members to discuss the manuscript and the reasons for not approving
       publication.



*      This will be referred to as “Confidential Information”, which means
       all non-public, confidential, and/or proprietary information that is
       marked as “Confidential Information” as described below and which
       is disclosed by one party to the other, including but not limited to
       software, inventions (whether patentable or not), algorithms,
       diagrams, drawings, processes, research, product or strategic plans or
WPATH Policy Use of Data for SOC8
Approved by WPATH Board of Directors
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      collaborations or partnerships, financial information, or business
      models. Confidential Information, if in tangible or readable form,
      shall be marked as such at the time of disclosure and if disclosed
      orally, shall be reduced to writing, marked confidential, and addressed
      to the other party within ten (10) days after disclosure.
**    See T’Sjoen, G., Motmans, J., Arcelus, J., & Bouman, W. P. (2017).
      The need of patient involvement in transgender healthcare research.
      Journal of Sexual Medicine, 14(12), 1494-1495.
      Bouman, W. P., Arcelus, J., T’Sjoen, G., De Cuypere, G., Galupo, M.
      P., Kreukels, B. P. C., Leibowitz, S., Riggs, D. W., Schechter, L. S.,
      & Veale, J. (2018). Transgender and gender diverse people’s
      involvement in transgender health research. International Journal of
      Transgenderism, 19(4), 357-358 or
      https://www.tandfonline.com/doi/full/10.1080/15532739.2018.154306
      6
***   See Bouman, W. P., Suess, A., Motmans, J., Green, J., Deutch, M.,
      Adams, N., Safer, J., Smiley, A., and Winter, S. (2017). Language and
      transgender health. International Journal of Transgenderism, 18(1), 1-
      6 or
      https://www.tandfonline.com/doi/full/10.1080/15532739.2016.126212
      7




WPATH Policy Use of Data for SOC8
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Checklist for JHU SOC8 systematic review papers

Title of Paper: Hormone Therapy, Mental Health, and Quality of Life among Transgender
People: A Systematic Review

Supporting Chapter: initial question part of questions from Hormone Chapter

Proposed Authors: Kellan E. Baker, MPH, Lisa M. Wilson, ScM, Ritu Sharma, BSc, Vadim
Dukhanin, MD, MHS, Kristen McArthur, BA, Karen A. Robinson, PhD


Acknowledged Authors: None

 Yes or No           This paper provides data that advances the knowledge in the field of
                     transgender health in a positive way

 Yes or No           This paper will be published in a reputable, academic, peer-reviewed
                     journal
                     Journal proposed for first submission The Lancet Diabetes &
                     Endocrinology
 Yes or No           Involves the work group leader of the chapter or alternatively a
                     designated representative of that specific SOC8 Chapter in the design,
                     drafting of the article and final approval of the article
                     Name of persons involved chapter members provided original list of
                     questions for reviews
 Yes or No           Involves at least one member of the transgender community in the
                     design, drafting of the article and final approval of the article chapter
                     members provided original list of questions for reviews
                     Name of person if not open about trans status, if not open about trans
                     status then enter N/A
 Yes or No           Adheres to the WPATH language policy




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                                                              Journal of the Endocrine Society, 2021, Vol. 5, No. 4, 1–16
                                                                                                doi:10.1210/jendso/bvab011
                                                                                                               Meta-Analysis




Meta-Analysis

Hormone Therapy, Mental Health, and
Quality of Life Among Transgender People:
A Systematic Review




                                                                                                                                                                     Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
Kellan E. Baker,1,3Lisa M. Wilson,1,3 Ritu Sharma,1,3 Vadim Dukhanin,1,3
Kristen McArthur,1,3 and Karen A. Robinson2,3
1
Department of Health Policy and Management, Johns Hopkins Bloomberg School of Public Health,
Baltimore, MD 21205, USA; 2Department of Medicine, Johns Hopkins University School of Medicine,
Baltimore, MD, USA; and 3Johns Hopkins Evidence-Based Practice Center, 615 North Wolfe Street,
Baltimore, MD 21205, USA
ORCiD number: 0000-0002-9716-7936 (K. E. Baker).

Abbreviations: BDI, Beck Depression Inventory; ENIGI, European Network for the Investigation of Gender Incongruence;
GnRH, gonadotropin-releasing hormone; HADS, Hospital Anxiety and Depression Scale; QOL, quality of life; RCT, randomized
controlled trial; SF-36, Short Form-36 Health Survey; WPATH, World Professional Association for Transgender Health.
Received: 5 October 2020; Editorial Decision: 25 January 2021; First Published Online: 2 February 2021; Corrected and Typeset:
19 February 2021.


Abstract
We sought to systematically review the effect of gender-affirming hormone therapy on
psychological outcomes among transgender people. We searched PubMed, Embase, and
PsycINFO through June 10, 2020 for studies evaluating quality of life (QOL), depres-
sion, anxiety, and death by suicide in the context of gender-affirming hormone therapy
among transgender people of any age. We excluded case studies and studies reporting
on less than 3 months of follow-up. We included 20 studies reported in 22 publications.
Fifteen were trials or prospective cohorts, one was a retrospective cohort, and 4 were
cross-sectional. Seven assessed QOL, 12 assessed depression, 8 assessed anxiety, and 1
assessed death by suicide. Three studies included trans-feminine people only; 7 included
trans-masculine people only, and 10 included both. Three studies focused on adoles-
cents. Hormone therapy was associated with increased QOL, decreased depression, and
decreased anxiety. Associations were similar across gender identity and age. Certainty
in this conclusion is limited by high risk of bias in study designs, small sample sizes,
and confounding with other interventions. We could not draw any conclusions about
death by suicide. Future studies should investigate the psychological benefits of hor-
mone therapy among larger and more diverse groups of transgender people using study
designs that more effectively isolate the effects of hormone treatment.
Key Words: Transgender, hormone therapy, sex hormones, mental health, systematic review




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distribution of the work, in any medium, provided the original work is not altered or transformed in any way, and that the
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    
Transgender people are those whose gender identity is dif-      and improvements in quality of life (QOL) among trans-
ferent from the sex they were assigned at birth. Estimates      gender people [12-17]. Most of these reviews did not re-
of the size of the transgender population vary depending        quire a minimum duration of hormone therapy [14-17].
on how the data are collected [1]. In studies that rely on      One review that did impose a minimum follow-up require-
clinical records, estimates range between 1 and 30 people       ment is 10 years old [12]. The other that required a min-
per 100 000 (0.001% to 0.03%) [2]. Studies that focus           imum of 3 months of therapy included only uncontrolled
instead on self-report among nonclinical populations find       prospective cohorts, which resulted in a sample of only
estimates that range between 0.1% and 2% [2].                   3 studies [13]. A comprehensive review without a min-
    Many transgender people seek medical services to af-        imum follow-up period assessed gender-affirming hormone
firm their gender identity. According to the Standards of       therapy and surgeries only in adolescents [17]. By requiring
Care for Transsexual, Transgender, and Gender Non-              a minimum duration of hormone treatment but consid-
Conforming People maintained by the World Professional          ering all ages and a variety of study designs, we sought




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Association for Transgender Health (WPATH), gender-             to update and more completely summarize the growing
affirming medical care is different for each individual and     evidence base regarding the relationship between gender-
may include a variety of services and procedures, such as       affirming hormone therapy and psychological outcomes in
psychological support, hormone therapy, and surgeries [3].      transgender people.
Hormone therapy, which typically involves estrogens and
anti-androgens for transgender women and other trans-
feminine people and testosterone for transgender men and        Search Strategy and Selection Criteria
other trans-masculine people, is a common component of          This review is one of a series of systematic reviews on
medical gender affirmation [4]. Because hormone treat-          gender-affirming care conducted for WPATH to inform the
ment can have a powerful effect on physical appearance,         eighth revision of the Standards of Care. The protocol is
it is often a priority for transgender people seeking med-      registered on PROSPERO (CRD42018115379) [18], and
ical gender affirmation [5]. Gender-affirming hormone           we followed the Preferred Reporting Items for Systematic
therapy can be managed for most patients by primary care        Reviews and Meta-Analyses (PRISMA) guidelines in re-
providers, as it typically involves long-term maintenance       porting our findings [19].
on doses similar to those used for cisgender patients with          We searched PubMed, Embase, and PyscINFO from in-
conditions such as hypogonadism [6, 7]. Some clinicians         ception to October 2018 and updated the search through
require a minimum period of psychological counseling be-        June 10, 2020, for studies assessing QOL, depression, anx-
fore hormone therapy can be initiated, while others provide     iety, and death by suicide among transgender participants
hormone therapy on the basis of informed consent [8].           of any age in the context of gender-affirming hormone
    The need for gender-affirming care is often character-      therapy [20]. We also reviewed the reference lists of pre-
ized using psychiatric diagnoses such as gender dysphoria,      vious reviews and hand-searched the International Journal
which replaced gender identity disorder in the fifth edi-       of Transgenderism. Using DistillerSR [21], 2 reviewers in-
tion of the Diagnostic and Statistical Manual of Mental         dependently screened titles, abstracts, and full-text articles.
Disorders (DSM-5) [9]. The 11th International Classification    Differences were resolved through consensus adjudication.
of Diseases (ICD-11) replaces these terms with a diagnosis          We included studies that evaluated the psychological ef-
called gender incongruence (codes: HA60, HA61, HA6Z),           fects of any testosterone, estrogen, or anti-androgen for-
which is located in a new chapter on sexual health. These       mulation used for gender affirmation. We also considered
changes clarify that the target of gender-affirming medical     gonadotropin-releasing hormone (GnRH) analogues used
interventions is not the person’s gender identity itself but    as anti-androgens or for puberty delay. Study participants
rather the clinically significant distress that can accompany   must have been on hormone therapy for at least 3 months
a misalignment between gender identity and sex assigned         in order to reflect a minimum time for expected onset of
at birth [10]. Some countries have further underscored          effects [3]. Health care provider supervision was not re-
that transgender identity is not a pathology by recognizing     quired. We excluded studies that did not state therapy
gender affirmation as fundamental to the human right to         type and duration, including the range for cross-sectional
self-definition and removing requirements that transgender      studies. We included studies regardless of language (the
people seeking gender-affirming medical care present with       search terms were in English) and country of origin, and
a diagnosis such as gender dysphoria [11].                      we accepted any study design except case reports.
    Several previous reviews have indicated that gender-            We created standardized forms for data extraction using
affirming hormone therapy is associated with psychological      the Systematic Review Data Repository system. The data
benefits that include reductions in depression and anxiety      extracted included participant demographics; study design


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                                                        
and methods; hormone therapy type, dose, and duration;             study’s adolescent population changed substantially in the
potential confounders such as gender-affirming surgery             period between the 2 publications. Similarly, Asscheman
status; outcome scales [20]; and psychological outcomes.           (2011) [44] reported on an extension of Asscheman (1989)
From studies that used the Short Form-36 Health Survey             [43]; we counted these as a single study but extracted data
(SF-36) to measure QOL, we extracted scores in all do-             separately. In Table 1 and in the subsequent tables for each
mains [22]. For studies that used measures with depression         outcome, studies are ordered first by study design (RCTs,
or anxiety subscales, we extracted only the subscale scores        before-after trials, prospective cohorts, retrospective co-
corresponding to the psychological outcomes of interest            horts, and cross-sectional studies); within these categories,
(eg, the depression subscale of the Minnesota Multiphasic          studies are presented in the following order according to
Personality Inventory [MMPI]). We extracted comparisons            how the study results were reported: adult transgender
with cisgender controls or general population norms only           women only, adult transgender men only, adult transgender
when longitudinal findings in a transgender population or          women and transgender men together, and transgender




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comparisons with an untreated transgender control group            adolescents (no study reported separate results by gender
were not reported. We used WebPlotDigitizer to extract             identity for transgender youth). Where multiple studies
data reported only in figures [23].                                shared the same study design and population, they are add-
    Two reviewers independently assessed risk of bias [20].        itionally ordered chronologically.
For randomized controlled trials (RCTs), we used the re-               The time frame covered in the included studies began in
vised Cochrane tool [24]. For non-randomized studies, we           1972 [43], but most studies dated from post-2000. Eight
used the Cochrane Risk of Bias Assessment Tool for Non-            studies were conducted in Italy [27-29, 31, 32, 36, 39, 41];
Randomized Studies of Interventions (ROBINS-I) [25].               2 each in Belgium [37, 48], the Netherlands [34, 35, 43, 44],
One reviewer graded strength of evidence for each outcome          the United States [30, 47], and Spain [38, 45]; and 1 in the
using the Agency for Healthcare Research and Quality               United Kingdom [33], Turkey [42], and France [46]. One
Methods Guide for Conducting Comparative Effectiveness             study recruited participants from Switzerland and Germany
Reviews [26]. We considered the directionality and magni-          [40]. One study was part of the European Network for the
tude of effects reported in cross-sectional studies as add-        Investigation of Gender Incongruence (ENIGI), which is a
itional context for our evaluation of evidence from trials         research collaborative between clinics providing gender-
and prospective and retrospective cohorts. Each strength of        affirming care to transgender people in Ghent (Belgium),
evidence assessment was confirmed by a second reviewer.            Amsterdam (Netherlands), Oslo (Norway), and Hamburg
    WPATH provided the research question and reviewed              (Germany). The ENIGI study included in this review drew
the protocol, evidence tables, and report. WPATH had no            participants only from the Ghent clinic [37].
role in study design, data collection, analysis, interpretation,       The study sizes ranged from 20 to 1331, although most
or drafting. The corresponding author had full access to           had fewer than 60 participants. Fourteen studies reported
all the data and had final responsibility for the decision to      on testosterone formulations in adult transgender men
submit for publication. The authors are responsible for all        [27, 29, 31-33, 36, 39-46, 48]. These formulations were
content, and statements in this report do not necessarily re-      typically injectable testosterone cypionate or enanthate,
flect the official views of or imply endorsement by WPATH.         although some studies used long-acting injectable testos-
                                                                   terone undecanoate or daily transdermal gels. Ten studies
                                                                   reported on estrogen formulations in adult transgender
Results                                                            women, usually in conjunction with an anti-androgen
We retrieved 1753 nonduplicate studies for the broader             such as cyproterone acetate or spironolactone [28, 31, 33,
systematic review project of which this review was a part          36, 37, 39, 43-47]. Estrogen formulations included trans-
(Fig. 1). After screening and full-text review for the specific    dermal, oral, or injectable estradiol (commonly estradiol
research question on the psychological effects of gender-          valerate) or conjugated estrogens. Three studies reported
affirming hormone therapy, 20 studies reported in 22 publi-        on the psychological effects of GnRH therapy for puberty
cations were included (Table 1): 1 RCT [27], 2 before-after        delay among mixed-gender groups of transgender ado-
trials [28, 29], 12 prospective cohorts reported in 13 pub-        lescents [30, 34, 35, 38]. No study reported on hormone
lications [30-42], 1 retrospective cohort reported in 2 pub-       therapy among nonbinary people.
lications [43, 44], and 4 cross-sectional studies [45-48]. De          All studies that reported information about recruit-
Vries (2014) [35] reported on a subset of the participants         ment drew their participants largely or exclusively from
in de Vries (2011) [34] who continued in care. We counted          specialized clinics dedicated to providing gender-affirming
these publications as a single study but extracted and re-         care for transgender people. These clinics were typically part
ported data separately because the characteristics of the          of larger systems such as university hospitals. Clinic-based


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    
          Screening




                                                                                                                                    Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
Figure 1. PRISMA flow diagram.


studies often applied strict eligibility criteria that included   underwent gender-affirming surgeries during the study
a period of psychiatric evaluation and a formal diagnosis         period [29, 33, 35, 43-45, 48].
of gender dysphoria before hormone therapy was initi-
ated. Some studies also reported that psychological coun-
seling was either available or required during the course         Quality of Life
of hormone therapy. In many cases, hormone therapy was            Seven studies, including 1 RCT [27], 2 before-after
considered a prerequisite for gender-affirming surgeries.         trials [28, 29], 2 prospective cohorts [30, 39], and 2
The type and timing of gender-affirming surgeries and the         cross-sectional studies [46, 48], assessed QOL (Table 2).
proportion of participants for whom hormone therapy               An RCT found an improvement of approximately 5.5
and surgeries were assessed simultaneously varied widely:         points on a 10-point measure of life satisfaction across
some studies assessed only participants who had not had           3 groups of transgender men (n = 15 each) after 1 year
any type of gender-affirming surgery [27, 28, 30-32, 34, 36,      of testosterone treatment (P < 0.05) [27]. A before-after
38-40, 42, 46, 47], while in others some or all participants      trial similarly reported that life satisfaction scores almost


                                                                                               JHU_000001912
                                                                  44
                 Table 1. Studies Reporting Effects of Gender-Affirming Hormone Therapy on Psychological Outcomes Among Transgender People

                 Author, year         Study design             Start    Transgender   Overall   Age in years                 Baseline HT status   Outcomes           GAS status               Risk of
                 Location                                      year     population    N                                                                                                       bias
                 Study name

                 Pelusi, 2014 [27]    Randomized           NR           Men              45     Mean: 29.5                   No previous HT       QOL                No GAS before            High
                    Italy                controlled triala                                                                                                             or during study
                 Gava, 2016 [28]      Before-after trial   NR           Women            40     Mean: 3.2 (range, 19–55)     No previous HT       QOL, Depression    No GAS before            Low
                    Italy                                                                                                                                              or during study
                 Gava, 2018 [29]      Before-after triala      NR       Men              50     Mean: 30.1 (range, 21–42)    No previous HT       QOL                72% (n = 36) had         Serious
                    Italy                                                                                                                                              gonadectomy
                                                                                                                                                                       during study
                 Fuss, 2015 [37]
                    Belgium
                                       Prospective cohort 2010          Women            20     Mean: 33.9 (range, 17–48)    No previous HT       Anxiety            NR                       Serious
                 ENIGI
                    (NCT01072825)
                                                                                                                                                                                                          Journal of the Endocrine Society, 2021, Vol. 5, No. 4




                                                                                                                                                                                                                     
                 Costantino, 2013 [32] Prospective cohort 2001          Men              50     Mean: 29.8                   No previous HT       Depression         No GAS before            Serious
                    Italy                                                                                                                                              or during study
                 Motta, 2018 [41]      Prospective cohort 2013          Men              52     Mean: 28.3                   No previous HT       Anxiety            NR                       Moderate
                    Italy
                 Turan, 2018 [42]      Prospective cohortb NR           Men              37     Mean: 24.6                   No previous HT       Depression,        No GAS before            Moderate
                    Turkey                                                                                                                           Anxiety           or during study




45
                 Metzger, 2019 [40]    Prospective cohortb 2013         Men              23     Mean: 27.2 (range, 18–51)    No previous HT       Depression         No GAS before            Moderate
                    Switzerland,                                                                                                                                       or during study
                    Germany
                 Colizzi, 2014 [31]    Prospective cohort 2008          Women and       107     Mean: 29.2                   No previous HT       Depression,        No GAS before             Low
                    Italy                                                 men                                                                        Anxiety            or during study
                 Manieri, 2014 [39]    Prospective cohort NR            Women and        83     Mean: 32.7 (women), 30.2     No previous HT       QOL                No GAS before             Moderate
                    Italy                                                 men                     (men)                                                                 or during study
                 Fisher, 2016 [36]     Prospective cohort 2012          Women and        54     Mean: 32.5 (women), 26.3     No previous HT       Depression         No GAS before             Low
                    Italy                                                 men                     (men)                                                                 or during study
                 Defreyne, 2018 [33]   Prospective cohort 2012          Women and       155     Median: 27 (range, 18–52)    No previous HT       Depression,        Some had GAS during       Serious
                    UK                                                    men                                                                        Anxiety            study; % and type NR
                 Asscheman, 1989 [43] Retrospective        1972         Women and       425     Median: 32 (women, range,   Previous HT for at    Death by suicide   78% (n = 235) of          Serious
                     Netherlands          cohortb,d                       men                     16–67); 25.4 (men, range,    least 6 months                           transgender women had
                                                                                                  16–54)                                                                GAS during study; data
                                                                                                                                                                        NR for transgender
                                                                                                                                                                        men




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                                                                                                                                                                                                                                      6
                     Table 1. Continued                                                                                                                                                                                                          
                     Author, year              Study design           Start      Transgender      Overall     Age in years                      Baseline HT status       Outcomes               GAS status                 Risk of
                     Location                                         year       population       N                                                                                                                        bias
                     Study name

                     Asscheman, 2011 [44]      Retrospective          1975       Women and        1331        Mean: 31.4 (women, range,   Previous HT for at             Death by suicide       87% (n = 834) of           Serious
                        Netherlands               cohortb,d                        men                          16–76); 26.1 (men, range,    least 1 year                                         transgender women
                                                                                                                16–57)                                                                            and 94% (n = 343) of
                                                                                                                                                                                                  transgender men had
                                                                                                                                                                                                  GAS during study
                     Leavitt, 1980 [47]   Cross-sectional             1976       Women               41       Range, 18–35                      54% (n = 22)             Depression             No previous GAS            Serious
                        US                                                                                                                         on HT
                     Wierckx, 2011 [48]   Cross-sectionalb            2009       Men                 47       Mean: 37 (range, 22–54)           100% on HT               QOL                    100% had GAS, but not       Serious
                        Belgium                                                                                                                                                                    within previous year
                     Gómez-Gil, 2012 [45] Cross-sectional             NR         Women and          187       Mean: 29.9 (range, 15–61)         64% (n = 120)            Depression,            42% (n = 79) of all         Serious
                        Spain                                                      men                                                            on HT                     Anxiety                participants and 64%
                                                                                                                                                                                                   (n = 77) of participants
                                                                                                                                                                                                   on HT had previous
                                                                                                                                                                                                   GAS
                     Gorin-Lazard, 2012        Cross-sectionalb       NR         Women and           61       Mean: 34.7                        72% (n = 44) on HT QOL                          No previous GAS             Serious
                        [46] France                                                 men




46
                     de Vries, 2011 [34]       Prospective cohort     2000       Girls and boys      70       Mean: 14.8 (range, 11.3–18.6) No previous HT               Depression,            No GAS before              Moderate
                        Netherlands                                                                                                                                         Anxiety                or during study
                     de Vries, 2014 [35]       Prospective cohortb,c 2000        Girls and boys      55       Mean: 14.8 (range, 11.5–18.5) No previous HT               Depression,            100% had GAS               Serious
                        Netherlands                                                                                                                                         Anxiety                during study
                     Achille, 2020 [30]        Prospective cohort     2013       Girls and boys      50       Mean: 16.2                        No previous HT           QOL, Depression        No GAS before              Moderate
                        US                                                                                                                                                                         or during study
                     López de Lara,            Prospective cohortb 2018          Girls and boys      23       Mean: 16 (range, 14-18)           No previous HT           Depression,            No GAS before              Moderate
                        2020 [38]                                                                                                                                           Anxiety                or during study
                        Spain

                     Abbreviations: ENIGI, European Network for the Investigation of Gender Incongruence; GAS, gender-affirming surgery; HT, hormone therapy; NR, not reported; QOL, quality of life.
                     a
                       25 participants were included in both Pelusi [27] and Gava (2018) [29]
                     b
                       Included a cisgender control group or a comparison to general population norms
                     c
                      All participants were also included in de Vries (2011) [34]
                     d
                       An unknown number of participants were included in both Asscheman (1989) [43] and Asscheman (2011) [44]




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                                                                  Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
                     Table 2. Effects of Gender-Affirming Hormone Therapy on Quality of Life Among Transgender People

                     Author, year               Transgender      Treatment /                 QOL measures        Length of               Findings
                     Study design               population       comparison (n)                                  treatment

                     Pelusi, 2014 [27]          Men              Testoviron depot (15)       VAS (general        54 weeks                Mean QOL scores increased from 2.8 to 8.5 (P < 0.05) in the testoviron depot
                        RCTa                                        vs testosterone gel        life                                        arm, from 3.2 to 8.9 (P < 0.05) in the testosterone gel arm, and from 2.6 to 8.0
                                                                    (15) vs testosterone       satisfaction)                               (P < 0.05) in the testosterone undecanoate arm.d There was no difference across
                                                                    undecanoate (15)                                                       arms.
                     Gava, 2016 [28]            Women            Cyproterone acetate         VAS (general        12 months               Mean QOL scores did not change in either arm. No comparisons across arms were
                       Before-after trial                           + estradiol (20) vs        life                                        reported.
                                                                    leuprolide acetate         satisfaction)
                                                                    + estradiol (20)           SF-36
                     Gava, 2018 [29]            Men              Testosterone                VAS (general        5 years                 Mean QOL scores increased from 4.3 ± 3.1 to 8.1 ± 1.8 (P < 0.001) in the
                       Before-after triala                          undecanoate (25)c          satisfaction)                               testosterone undecanoate arm and from 4.3 ± 3.8 to 8.3 ± 1.7 (P < 0.001) in the
                                                                    vs testosterone                                                        testosterone enanthate arm. No comparisons across arms were reported.
                                                                    enanthate (25)c
                                                                                                                                                                                                                                     Journal of the Endocrine Society, 2021, Vol. 5, No. 4




                     Manieri, 2014 [39]         Women            HT (56)                     WHOQOL              12 months               Mean QOL scores increased from 62.5 to 72.2 (P < 0.05).d                                               
                        Prospective cohort
                     Manieri, 2014 [39]         Men              HT (27)                     WHOQOL              12 months               Mean QOL scores did not change.
                        Prospective cohort
                     Wierckx, 2011 [48]         Men              HT (47)c                    SF-36               At least 3 years        Mean QOL scores on the VT and MH subscales were lower for transgender




47
                        Cross-sectionalb                                                                                                   men than cisgender men (VT subscale: 62.1 ± 20.7 vs 71.9 ± 18.3, P = 0.002;
                                                                                                                                           MH subscale: 72.6 ± 19.2 vs 79.3 ± 16.4, P = 0.020). There were no other
                                                                                                                                           differences between transgender men and either cisgender men or cisgender
                                                                                                                                           women.
                     Gorin-Lazard, 2012      Women and           HT (44) vs no HT            SF-36               Median:                 Mean QOL scores were generally higher in the group receiving HT vs the group
                       [46] Cross-sectionalb   men                 (17)                                            20 months               not receiving HT (MCS: 51.0 ± 7.7 vs 39.8 ± 12.7, P = 0.003; MH subscale:
                                                                                                                   (range,                 76.4 ± 14.1 vs 59.1 ± 19.6, P = 0.004; RE subscale: 88.6 ± 22.7 vs 54.9 ± 40.7,
                                                                                                                   12–42 months)           P = 0.001; SF subscale: 83.2 ± 23.3 vs 69.9 ± 24.2, P = 0.026). There were no
                                                                                                                                           differences in the other subscales.
                     Achille, 2020 [30]         Girls and        GnRH treatment +            Q-LES-Q-SF          12 months               Mean QOL scores did not change.
                        Prospective cohort         boys            HT (47)

                     Abbreviations: GnRH, gonadotropin-releasing hormone; HT, hormone therapy; MCS, Mental Component Summary; MH, mental health; QOL, quality of life; RCT, randomized controlled trial; RE, role functioning/emo-
                     tional; SF, social functioning; SF-36, Short Form-36 Health Survey; VAS, visual analog scale; VT, vitality; WHOQOL, World Health Organization Quality of Life measure.
                     a
                       10 participants on testosterone enanthate and 15 participants on testosterone undecanoate were included in both Pelusi [27] and Gava (2018) [29]
                     b
                       Included a cisgender control group or a comparison to general population norms
                     c
                       Included participants who had undergone gender-affirming surgery/surgeries, or surgery status not reported
                     d
                       No standard deviations reported




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    
doubled among transgender men (n = 50) over 5 years [29].           almost by half among adolescents (n = 41) after a mean of
A prospective study found a 16% improvement in QOL                  1.88 years of treatment with GnRH analogues to delay pu-
scores among transgender women (n = 56) after 1 year of             berty (P = 0.004) [34]. The overall improvement after sev-
treatment (P < 0.05) but no change among transgender                eral subsequent years of testosterone or estrogen therapy in
men (n = 27) [39]. Another before-after trial reported no           this cohort (n = 32) was smaller, however, resulting in no
difference in SF-36 scores among 2 groups of transgender            significant change from baseline [35]. No study found that
women (n = 20 each) after 1 year [28]. Among adolescents,           hormone therapy increased depression. We conclude that
a mixed-gender prospective cohort (n = 50) showed no dif-           hormone therapy may decrease depression among trans-
ference in QOL scores after a year of endocrine interven-           gender people. The strength of evidence for this conclusion
tions, which included combinations of GnRH analogues                is low due to concerns about study designs, small sample
and estrogen or testosterone formulations [30]. No study            sizes, and confounding.
found that hormone therapy decreased QOL scores. We




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conclude that hormone therapy may improve QOL among
transgender people. The strength of evidence for this con-          Anxiety
clusion is low due to concerns about bias in study designs,         Eight studies, including 7 prospective cohorts [31, 33-35, 37,
imprecision in measurement because of small sample sizes,           38, 41, 42] and 1 cross-sectional study [45], assessed anx-
and confounding by factors such as gender-affirming                 iety (Table 4). One prospective study found that Symptom
surgery status.                                                     Checklist 90-Revised scores indicating a probable anxiety
                                                                    disorder among a mixed-gender group of adults (n = 107)
                                                                    improved from borderline to normal over 12 months
Depression                                                          (P < 0.001) [31]. Another prospective study, however, did
Twelve studies, including 1 before-after trial [28], 9 pro-         not find a difference in HADS anxiety scores among either
spective cohorts [30-36, 38, 40, 42], and 2 cross-sectional         transgender men (n = 64) or transgender women (n = 91)
studies [45, 47], assessed depression (Table 3). A pro-             after 1 year [33], and a third study reported no change in
spective study found that the proportion of transgender             the number of transgender men (6/52, 12%) with a diag-
men and transgender women (n = 107) showing symptoms                nosed anxiety disorder after 7 months [41]. Likewise, 2
of depression decreased from 42% to 22% over 12 months              other prospective studies found no difference in anxiety
of treatment (P < 0.001) [31]. In 2 other prospective co-           scores among transgender men (n = 37) after 24 weeks
horts, Beck Depression Inventory (BDI-II) scores improved           of treatment [42] or transgender women (n = 20) after
by more than half among both transgender men (n = 26)               12 months [37], although this latter finding represented no
and transgender women (n = 28) after 24 months of                   change from a baseline median score of 0 (answering “no”
therapy (P < 0.001) [36] and improved from 15.7 ± 12.3 to           to the question, “do you feel anxious?”) on an unvalidated
8.1 ± 6.2 among transgender men (n = 23) after 6 months             3-point scale. Among adolescents, 1 prospective study saw
(P < 0.001) [40]. A fourth prospective study reported im-           mean anxiety scores in a mixed-gender group (n = 23) im-
provements of 1.05 points (95% CI: −1.87, −0.22) and 1.42           prove from 33.0 ± 7.2 to 18.5 ± 8.4 after 1 year (P < 0.001)
points (95% CI: −2.61, −0.24) on the 21-point Hospital              [38], but another reported no changes in anxiety after ap-
Anxiety and Depression Scale (HADS) among 91 trans-                 proximately 2 years of puberty delay treatment with GnRH
gender women and 64 transgender men after 12 months                 analogues and 4 years of hormone therapy (n = 32) [35].
(P = 0.013 and P = 0.019, respectively) [33]. A before-after        No study found that hormone therapy increased anxiety.
trial, however, found no change in BDI-II scores among 2            We conclude that hormone therapy may decrease anxiety
groups of transgender women (n = 20 each) after 1 year              among transgender people. The strength of evidence for
[28]. Two prospective studies reported no difference among          this conclusion is low due to concerns about study designs,
transgender men (n = 37) after 24 weeks [42] or among               small sample sizes, and confounding.
transgender men (n = 50) after 12 months [32], although in
the latter study this outcome did not change from a base-
line median of 0.0 (“not at all depressed”) on an unval-            Death by Suicide
idated 4-point scale. Among adolescents, 2 mixed-gender             One retrospective study reported in 2 publications assessed
prospective cohorts (n = 50 and n = 23, respectively)               death by suicide (Table 5) [43, 44]. The first publication re-
showed improvements in depression scores after 1 year               ported that 3 transgender women in the Amsterdam gender
of treatment with GnRH analogues and estrogen or tes-               dysphoria study cohort (n = 303) died by suicide between
tosterone formulations (both P < 0.001) [30, 38]. Another           1972 and 1986 [43]. The authors calculated the number
prospective study reported that BDI scores improved                 of suicide deaths expected in an age-matched stratum of


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                                                               48
                     Table 3. Effects of Gender-Affirming Hormone Therapy on Depression Among Transgender People

                     Author, year            Transgender   Treatment /           Depression         Length of treatment   Findings
                     Study design            population    comparison (n)        measures

                     Gava, 2016 [28]         Women         Cyproterone acetate   BDI-II             12 months             Mean depression scores did not change in either arm. No comparisons across arms
                        Before-after trial                    + estradiol (20)                                              were reported.
                                                              vs Leuprolide
                                                              acetate +
                                                              estradiol (20)
                     Fisher, 2016 [37]       Women         HT (28)               BDI-II             24 months             Mean depression score decreased from 10.12 to 4.58 (P < 0.001).d, e
                        Prospective
                        cohort
                     Defreyne, 2018          Women         HT (91)c              HADS               1 year                Median depression score decreased by 1.05 (95% CI: −1.87, −0.22) on a 21-point
                        [33]                                                       (depression                              scale (P = 0.013).
                        Prospective                                                subscale)
                        cohort
                                                                                                                                                                                                              Journal of the Endocrine Society, 2021, Vol. 5, No. 4




                     Costantino, 2013        Men           HT (50)               Ad hoc             12 months             Depression score did not change from a median of 0.0 at baseline (IQR: 0.0, 1.0).              
                        [32]                                                        questionnaire
                        Prospective
                        cohort
                     Fisher, 2016 [36]       Men           HT (26)               BDI-II             24 months             Mean depression score decreased from 9.31 to 4.25 (P < 0.001).d, e




49
                        Prospective
                        cohort
                     Defreyne,               Men           HT (64)c              HADS               1 year                Median depression score decreased by 1.42 (95% CI: −2.61, −0.24) on a 21-point
                        2018 [33]                                                  (depression                              scale (P = 0.019).
                        Prospective                                                subscale)
                        cohort
                     Turan, 2018 [42]        Men           HT (37)               SCL-90-R           24 weeks              Mean depression score did not change.
                     Prospective                                                   (depression
                        cohortb                                                    subscale)
                     Metzger, 2019 [40]      Men           HT (23)               BDI-II             6 months              Mean depression score decreased from 15.7 ± 12.3 to 8.1 ± 6.2 (P < 0.001).
                        Prospective
                        cohortb
                     Colizzi, 2014 [31]      Women and     HT (107)              Zung SDS           12 months             Mean Zung SDS score improved from 48.40 ± 10.5 to 39.98 ± 10.79 (P < 0.001),
                        Prospective            men                                 SCL-90-R                                 and the proportion with Zung SDS scores indicating mild, moderate, or
                        cohort                                                     (depression                              severe depression (vs no depression) decreased from 42% to 22% (χ 2 = 19.05,
                                                                                   subscale)                                P < 0.001). Mean SCL-90-R score decreased from 0.83 ± 0.74 to 0.51 ± 0.49
                                                                                                                            (P < 0.001), which represents an improvement from possible borderline
                                                                                                                            depression to no depression.
                     Leavitt, 1980 [47]      Women         HT (22) vs No HT      MMPI               At least 12 months    Mean depression score was lower in the group receiving HT vs the group not




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                        Cross-sectional                      (19)                  (depression                              receiving HT (53.1 ± 14.7 vs 65.7 ± 11.2, P = 0.004).
                                                                                   subscale)
                                                                                                                                                                                                              9
                                                                                                                                                                                                                                                                      Case 2:22-cv-00184-LCB-CWB Document 560-17 Filed 05/27/24 Page 50 of 93




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                     Table 3. Continued
                                                                                                                                                                                                                                       10

                                                                                                                                                                                                                                                  
                     Author, year            Transgender       Treatment /               Depression             Length of treatment      Findings
                     Study design            population        comparison (n)            measures

                     Gómez-Gil, 2012         Women and         HT (120)c vs No           HADS                   Mean: 11.0 years      Mean depression score was lower in the group receiving HT vs the group not
                       [45]                    men               HT (67)c                  (depression             (women, range,       receiving HT (3.3 ± 3.2 vs 5.2 ± 4.2, P = 0.002).f The proportion with scores
                               ­
                       Cross-sectional                                                     subscale)               1–46 years);         indicating depression (vs no depression) was larger in the group not receiving
                                                                                                                   4.7 years (men,      HT (31% vs 8%, χ 2 = 16.46, P = 0.001).f
                                                                                                                   range, 1–22 years)
                     de Vries, 2011 [34]     Girls and         GnRH treatment            BDI                    1.88 years            Mean depression score decreased from 8.31 ± 7.12 to 4.95 ± 6.72 (P = 0.004).
                        Prospective             boys             (41)
                        cohort
                     de Vries, 2014 [35]     Girls and         GnRH treatment +          BDI                    5.9 years                Mean depression score did not change.
                        Prospective             boys             HT (32)c
                        cohorta,b
                     Achille, 2020 [30]      Girls and         GnRH treatment +          CESD-R, PHQ-9          12 months                Mean CESD-R score decreased from 21.4 to 13.9 (P < 0.001); d a score of <16
                        Prospective             boys             HT (47)                   (modified for                                   indicates no clinical depression. Mean PHQ-9 score decreased from 9.0 to 5.4
                        cohort                                                             adolescents)                                    (P < 0.001).d
                     López de Lara,          Girls and         GnRH treatment +          BDI-II                 1 year                   Mean depression score decreased from 19.3 ± 5.5 to 9.7 ± 3.9 (P < 0.001).
                        2020 [38]               boys             HT (23)
                        Prospective
                        cohortb




50
                     Abbreviations: BDI/BDI-II, Beck Depression Inventory; GAS, gender-affirming surgery; GnRH, gonadotropin-releasing hormone; HADS, Hospital Anxiety and Depression Scale; HT, hormone therapy; IQR, interquartile
                     range; MMPI, Minnesota Multiphasic Personality Inventory; NA, not applicable; SCL-90-R, Symptom Checklist 90-Revised; Zung SDS, Zung Self-Rating Depression Scale.
                     a
                       All participants were also included in de Vries (2011) [34]
                     b
                       Included a cisgender control group or a comparison to general population norms
                     c
                       Included participants who had undergone gender-affirming surgery/surgeries, or surgery status not reported
                     d
                       No standard deviations reported
                     e
                       Adjusted for age, gender role, and surgery status
                     f
                       Adjusted for age, gender, and education level




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                                                                                                                                                                                                                                       Journal of the Endocrine Society, 2021, Vol. 5, No. 4
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Table 4. Effects of Gender-Affirming Hormone Therapy on Anxiety Among Transgender People

Author, year               Transgender Treatment /   Anxiety measures                 Length of        Findings
                           population comparison (n)                                  treatment

Fuss, 2015 [37]            Women          HT (20)c          Ad hoc questionnaire 12 months             Anxiety score did not change from a median
   Prospective cohort                                                                                    of 0.0 at baseline.
Defreyne, 2018 [33]        Women          HT (91)c          HADS (anxiety             1 year           Median anxiety score did not change.
   Prospective cohort                                         subscale)
Defreyne, 2018 [33]        Men            HT (64)c          HADS (anxiety             1 year           Median anxiety score did not change.
   Prospective cohort                                         subscale)
Motta, 2018 [41]           Men            HT (46)c          DSM                       7 months         Proportion diagnosed with an anxiety
   Prospective cohort                                                                                     disorder (6/46, 12%) did not change.
Turan, 2018 [42]           Men            HT (37)           SCL-90-R (anxiety         24 weeks         Mean anxiety score did not change.




                                                                                                                                                             Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
   Prospective cohortb                                        subscale)
Colizzi, 2014 [31]         Women and HT (107)               SCL-90-R (anxiety         12 months       Mean SCL-90-R score decreased from
   Prospective cohort        men                              subscale) Zung                            1.05 ± 0.95 to 0.54 ± 0.56 (P < 0.001),
                                                              SAS                                       which represents an improvement from
                                                                                                        borderline anxiety disorder to no anxiety
                                                                                                        disorder. Mean Zung SAS score improved
                                                                                                        from 44.91 ± 9.59 to 37.90 ± 8.97
                                                                                                        (P < 0.001), and the proportion with
                                                                                                        Zung SAS scores indicating mild,
                                                                                                        moderate, or severe anxiety (vs no
                                                                                                        anxiety) decreased from 50% to 17%
                                                                                                        (χ 2 = 33.03, P < 0.001).
Gómez-Gil, 2012 [45]       Women and HT (120)c vs  HADS (anxiety                      Mean:           Mean HADS and SADS scores were lower
  Cross-sectional            men       No HT (67)c   subscale) SADS                      11.0 years     in the group receiving HT vs the group
                                                                                         (women,        not receiving HT (6.4 ± 3.7 vs 9.0 ± 4.0,
                                                                                         range,         P = 0.001; 8.5 ± 7.8 vs 11.0 ± 7.3,
                                                                                         1-46 years);   P = 0.038, respectively).d The proportion
                                                                                         4.7 years      with scores indicating anxiety (vs no
                                                                                         (men,          anxiety) was higher in the group not
                                                                                         range,         receiving HT (χ 2 = 14.46, P < 0.001).d
                                                                                         1-22 years)
de Vries, 2011 [34]        Girls and      GnRH          STAI (trait subscale)         1.88 years      Mean anxiety score did not change.
   Prospective cohort         boys          treatment
                                            (41)
de Vries, 2014 [35]    Girls and          GnRH          STAI (trait subscale)         5.9 years        Mean anxiety score did not change.
   Prospective            boys              treatment +
   cohorta,b                                HT (32)c
López de Lara, 2020    Girls and          GnRH          STAI (trait subscale)         1 year           Mean anxiety score decreased from
   [38]                   boys              treatment +                                                  33.0 ± 7.2 to 18.5 ± 8.4 (P < 0.001).
   Prospective cohortb                      HT (23)

Abbreviations: BAI, Beck Anxiety Inventory; DSM, Diagnostic and Statistical Manual of Mental Disorders; GAS, gender-affirming surgery; GnRH, gonadotropin-
releasing hormone; HADS, Hospital Anxiety and Depression Scale; HT, hormone therapy; IQR, interquartile range; SADS, Social Avoidance and Distress Scale;
SCL-90-R, Symptom Checklist 90-Revised; STAI, State-Trait Anxiety Inventory; Zung SAS, Zung Self-Rating Anxiety Scale.
a
  All participants were also included in de Vries (2011) [34]
b
  Included a cisgender control group or a comparison to general population norms
c
 Included participants who have undergone gender-affirming surgery/surgeries, or surgery status not reported
d
  Adjusted for age, gender, and education level



the general male Dutch population over this period to                          The age- and sex-stratified standardized mortality ratios
be 0.208. No data were reported for transgender men                            were 5.70 (95% CI: 4.93, 6.54) and 2.22 (95% CI: 0.53,
(n = 122). An update to this study reported 17 deaths by                       6.18), respectively. The risk of bias for this study was ser-
suicide among transgender women (n = 966) and 1 among                          ious due to the difficulty of identifying appropriate com-
transgender men (n = 365) between 1975 and 2007 [44].                          parison groups and uncontrolled confounding by surgery



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                  12                                                                                                                                                                                                                                                                                                                                    Journal of the Endocrine Society, 2021, Vol. 5, No. 4

                                                                                                    
                                                                                                                                                                                                                                                                                                                                              status and socioeconomic variables such as unemployment.




                                                                                                                                                             2007. The age-stratified SMR compared to the general Dutch




                                                                                                                                                             2007. The age-stratified SMR compared to the general Dutch
                                                                                                                              Median: 18.6 years (range, 17 transgender women (2%) died by suicide between 1975 and
                                                                                                                              Median: 4.4 years (range, 3 transgender women (1%) died by suicide between 1972 and
                                                                                                                                                                                                                                                                                                                                              We cannot draw any conclusions on the basis of this single




                                                                                                                              Median: 18.4 years (range, 1 transgender man (0.3%) died by suicide between 1975 and
                                                                                                                              Median: 3.6 years (range, No deaths by suicide among transgender men were reported
                                                                                                                                                                                                                                                                                                                                              study about whether hormone therapy affects death by sui-

                                                                                                                                                             1986. The adjusted number of suicide deaths expected
                                                                                                                                                             among the general Dutch male population was 0.208.
                                                                                                                                                                                                                                                                                                                                              cide among transgender people.




                                                                                                                                                             female population was 2.22 (95% CI: 0.53, 6.18).
                                                                                                                                                             male population was 5.70 (95% CI: 4.93, 6.54).
                                                                                                                                                                                                                                                                                                                                              Discussion
                                                                                                                                                                                                                                                                                                                                              This systematic review of 20 studies found evidence that
                                                                                                                                                                                                                                                                                                                                              gender-affirming hormone therapy may be associated with
                                                                                                                                                                                                                                                                                                                                              improvements in QOL scores and decreases in depres-
                                                                                                                                                                                                                                                                                                                                              sion and anxiety symptoms among transgender people.
                                                                                                                                                             during the study period.

                                                                                                                                                                                                                                                                                                                                              Associations were similar across gender identity and age.




                                                                                                                                                                                                                                                                                                                                                                                                                Downloaded from https://academic.oup.com/jes/article/5/4/bvab011/6126016 by guest on 19 February 2021
                                                                                                                                                                                                                                                                                                                                              The strength of evidence for these conclusions is low due to
                                                                                                                                                                                                                                                                                                                                              methodological limitations (Table 6). It was impossible to
                                                                                                                                                                                                                                                                                                                                              draw conclusions about the effects of hormone therapy on
                                                                                                                                                                                                                                                                                                                                              death by suicide.
                                                                                                        Findings




                                                                                                                                                                                                                                                                                                                                                  Uncontrolled confounding was a major limitation in
                                                                                                                                                                                                                                                                                                                                              this literature. Many studies simultaneously assessed dif-
                                                                                                                                                                                                                                                                                                                                              ferent types of gender-affirming care and did not control
                                                                                                                                6 months to 13 years)




                                                                                                                                6 months to 13 years)




                                                                                                                                                                                                                                                                                                                                              for gender-affirming surgery status, making it difficult to
                                                                                                        Length of treatment




                                                                                                                                0.7–44.5 years)




                                                                                                                                4.7–42.6 years)




                                                                                                                                                                                                                                                                                                                                              isolate the effects of hormone therapy. Others failed to re-
                                                                                                                                                                                                                                                                                                                                              port complete information about surgery status. Additional
Table 5. Effects of Gender-Affirming Hormone Therapy on Death by Suicide Among Transgender People




                                                                                                                                                                                                                                                                                                                                              factors that may influence both access to care and psycho-
                                                                                                                                                                                                                                                                                                                                              logical outcomes, including extent of social or legal gender
                                                                                                                                                                                                                                                                                                                                              affirmation and exposure to determinants of health such
                                                                                                                                                                                                                                                                                                                                              as discrimination, were typically not considered. In add-
                                                                                                                                                                                                                            An unknown number of participants were included in both Asscheman (1989) [43] and Asscheman (2011) [44]
                                                                                                                              Death by suicide (confirmed by



                                                                                                                                                               Death by suicide (confirmed by




                                                                                                                                                               Death by suicide (confirmed by
                                                                                                                                                                  medical report or physician

                                                                                                                                                               Death by suicide (confirmation



                                                                                                                                                                  medical report or physician




                                                                                                                                                                                                                                                                                                                                              ition, some evidence indicates that cyproterone acetate, a
                                                                                                                                                                                                                            Includes participants who had undergone gender-affirming surgery/surgeries, or surgery status not reported




                                                                                                                                                                                                                                                                                                                                              common anti-androgen assessed in many studies alongside
                                                                                                                                                                                                                                                                                                                                              estrogen therapy, may increase depression, which may be a
                                                                                                                                                                                                                                                                                                                                              source of confounding [49].
                                                                                                                                 autopsy report)




                                                                                                                                                                  procedure NR)
                                                                                                                                                                  information)




                                                                                                                                                                  information)




                                                                                                                                                                                                                                                                                                                                                  Another source of potential bias was recruitment of
                                                                                                                                                                                                                          Abbreviations: HT, hormone therapy; NR, not reported; SMR, standardized mortality ratio.




                                                                                                                                                                                                                                                                                                                                              participants from specialized clinics that impose strict diag-
                                                                                                        Measures




                                                                                                                                                                                                                                                                                                                                              nostic criteria as a prerequisite for gender-affirming care.
                                                                                                                                                                                                                            Included a cisgender control group or a comparison to general population norms




                                                                                                                                                                                                                                                                                                                                              The dual role of clinicians and researchers as both gate-
                                                                                                                                                                                                                                                                                                                                              keepers and investigators may force transgender study
                                                                                                        comparison (n)




                                                                                                                                                                                                                                                                                                                                              participants to over- or understate aspects of their mental
                                                                                                        Treatment /




                                                                                                                                                                                                                                                                                                                                              health in order to access gender-affirming care [8]. Similarly,
                                                                                                                              HT (303)c



                                                                                                                                                               HT (966)c



                                                                                                                                                                                            HT (122)c

                                                                                                                                                                                                         HT (365)c




                                                                                                                                                                                                                                                                                                                                              transgender clinic patients may feel that they cannot opt
                                                                                                                                                                                                                                                                                                                                              out of research-related activities, which is a serious concern
                                                                                                                                                                                                                                                                                                                                              for the validity of psychological outcome measurements.
                                                                                                                                                                                                                                                                                                                                                  Clinic-based recruitment also overlooks transgender
                                                                                                        Transgender
                                                                                                        population




                                                                                                                                                                                                                                                                                                                                              people who cannot access these clinics for financial or
                                                                                                                              Women



                                                                                                                                                               Women




                                                                                                                                                                                                                                                                                                                                              other reasons and misses those whose need for gender
                                                                                                                                                                                            Men

                                                                                                                                                                                                         Men




                                                                                                                                                                                                                                                                                                                                              affirmation does not fit into current medical models. This
                                                                                                                                                                                                                                                                                                                                              is a particular concern for nonbinary and other gender-
                                                                                                                                 Retrospective cohorta,b



                                                                                                                                                                  Retrospective cohorta,b



                                                                                                                                                                                               Retrospective cohorta,b

                                                                                                                                                                                               Retrospective cohorta,b




                                                                                                                                                                                                                                                                                                                                              diverse people, for whom a model of gender affirmation
                                                                                                                              Asscheman, 1989 [43]



                                                                                                                                                               Asscheman, 2011 [44]



                                                                                                                                                                                            Asscheman, 1989 [43]

                                                                                                                                                                                            Asscheman, 2011 [44]




                                                                                                                                                                                                                                                                                                                                              as a linear transition from one binary gender to another
                                                                                                                                                                                                                                                                                                                                              is inaccurate [50].
                                                                                                                                                                                                                                                                                                                                                  Most studies used well-known scales for measuring
                                                                                                        Author, year




                                                                                                                                                                                                                                                                                                                                              psychological outcomes. None of these scales, however,
                                                                                                                                                                                                                                                                                                                                              have been specifically validated for use in transgender
                                                                                                                                                                                                                                                                                                                                              populations [51]. Furthermore, many scales are normed
                                                                                                                                                                                                                          b
                                                                                                                                                                                                                          a



                                                                                                                                                                                                                          c




                                                                                                                                                                                                                                                                                                                                                                           JHU_000001920

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Table 6. Strength of Evidence of Studies that Evaluate the Psychological Effects of Hormone Therapy Among Transgender
People

Outcome                 Number of studies (n)                                           Strength of        Summarya
                                                                                        evidence

Quality of life         1 randomized controlled trial [27] (45)b                        Lowe               Hormone therapy may improve quality of
                        2 before-after trials [28, 29] (65)b                                                 life among transgender people.g
                        2 prospective cohorts [30, 39] (133)
                        2 cross-sectional studies [46, 48] (108)
Depression              1 before-after trial [28] (40)                                  Lowe               Hormone therapy may alleviate depression
                        9 prospective cohorts [30-36, 38, 40, 42] (569)c                                     among transgender people.g
                        2 cross-sectional [45, 47] (228)
Anxiety                 7 prospective cohorts [31, 33-35, 37, 38, 41, 42] (464)c        Lowe               Hormone therapy may alleviate anxiety




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                        1 cross-sectional [45] (187)                                                          among transgender people.g
Death by suicide        1 retrospective cohort [43, 44] (1756)d                         Insufficientf      There is insufficient evidence to draw a
                                                                                                              conclusion about the effect of hormone
                                                                                                              therapy on death by suicide among
                                                                                                              transgender people.

a
  Due to similarity of findings, the summary is the same for transgender men and transgender women and for adolescents and adults
b
  25 participants are included in both Pelusi [27] and Gava (2018) [29] and are counted once
c
  All 55 participants in de Vries (2014) [35] were also included among the 70 participants in de Vries (2011) [34] and are counted once
d
  An unknown number of participants were included in both Asscheman (1989) [43] and Asscheman (2011), [44] so the unique sample size is smaller than indi-
cated here
e
  Evidence downgraded due to study limitations, including uncontrolled confounding, and imprecision because of small sample sizes
f
  Evidence downgraded due to study limitations, including confounding and a lack of meaningful comparison groups, and imprecision in measurement of a rare
event
g
  The body of cross-sectional evidence tended to align with the conclusion


separately for (presumed cisgender) men and women [52].                        hormone therapy and mental health outcomes in trans-
Inconsistency in identification of appropriate general popu-                   gender populations should be prospective or use strong
lation norms hinders comparisons between transgender                           quasi-experimental designs; consistently report type,
and cisgender groups, which is a major related research                        dose, and duration of hormone therapy; adjust for pos-
question that requires further investigation.                                  sible confounding by gender-affirming surgery status;
    Beyond methodological concerns in the studies we as-                       control for other variables that may independently in-
sessed, our review has other limitations. First, it is likely                  fluence psychological outcomes; and report results sep-
subject to publication bias, as we may have missed studies                     arately by gender identity. Despite the limitations of the
not published in the peer-reviewed literature. Second, a                       available evidence, however, our review indicates that
number of potentially relevant studies could not be in-                        gender-affirming hormone therapy is likely associated
cluded because the authors did not report on a minimum                         with improvements in QOL, depression, and anxiety.
of 3 months of treatment or did not clearly state the                          No studies showed that hormone therapy harms mental
type and/or duration of therapy, including the range for                       health or quality of life among transgender people.
cross-sectional studies [53-65]. Finally, even where out-                      These benefits make hormone therapy an essential com-
come measurements were similar across studies, hetero-                         ponent of care that promotes the health and well-being
geneity in study designs, study populations, intervention                      of transgender people.
characteristics, and reporting of results (ie, some studies
reported results separately by gender identity, while others
did not), prevented us from quantitatively pooling results.
    More research is needed to further explore the rela-                       Acknowledgments
tionship between gender-affirming hormone therapy and                            Financial Support: This review was partly funded by the World
QOL, death by suicide, and other psychological outcomes,                       Professional Association for Transgender Health.
                                                                                 Author Contributions: R.S. developed and implemented the search
especially among adolescents. Future studies should in-
                                                                               strategy with input from K.B., L.W., and K.R. K.B., L.W., R.S., V.D.,
vestigate these outcomes in larger groups of diverse
                                                                               K.M., and K.R. screened and assessed studies, extracted data, and
participants recruited outside clinical settings. Studies                      graded strength of evidence. K.B. wrote the report, which was re-
assessing the relationship between gender-affirming                            viewed by all co-authors.




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                                                                               quality of life in transgender individuals. Transgend Health.
Email: kbaker39@jhu.edu.
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Disclaimer:

This review was partially funded by the World Professional Association for Transgender Health (WPATH).
The authors of this manuscript are responsible for its content. Statements in the manuscript do not
necessarily reflect the official views of or imply endorsement by WPATH.




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                  wpath@wpath.org

           phone: 1+(847) 752-5328        Policy & Procedures Regarding the Use of
                                                     WPATH SOC8 Data
              fax: 1+(224) 633-2166

         1061 E Main Street Ste 300
             East Dundee, IL 60118
                                      Background to the Policy
                           STAFF
                Executive Director    In April 2018 WPATH commissioned John Hopkins University (JHU) to support
                    Sue O’Sullivan    the development of the 8th edition of the Standards of Care for the Health of
                   sue@wpath.org      Transsexual, Transgender, and Gender Nonconforming People (SOC8). WPATH
                                      entered into a Sponsored Research Agreement with Johns Hopkins University on
       Executive Director of Global   behalf of its School of Medicine with Dr Karen A. Robinson, Director at JHU
         Education & Development      Evidence-based Practice Center as principal investigator in conducting the
                       Donna Kelly    research for WPATH. WPATH contracted Dr Robinson and her team to perform
                 donna@wpath.org      systematic literature reviews and other activities to support the development of
                                      the 8th edition of SOC.
         Deputy Executive Director
                       Blaine Vella
                                      The contract between WPATH and JHU states the following regarding Data use
                 blaine@wpath.org
                                      and Publications: “the term "Data" principally includes raw data, research data,
 Educational Program Coordinator
                                      records, reports, notes, tables, writing, sound recordings, pictorial reproduction,
                  Taylor O’Sullivan
                                      drawings or other graphical representations, and works of any similar nature
                 taylor@wpath.org     (whether or not copyrighted) which are generated or specified to be delivered by
                                      Dr Robinson and her team in connection with the update and development of the
      Assistant Associate Director    SOC8”.
                       Jamie Hicks
                  jamie@wpath.org     “Notwithstanding anything to the contrary contained in the contract between
                                      WPATH and JHU, WPATH shall retain the unrestricted right to use the Data, or
          EXECUTIVE COMMITTEE         any part thereof at any time, in any manner and for any purpose, including the
                         President    publication of the Data and the communication of Data to third parties. No other
           Vin Tangpricha, MD, PhD    parties other than Dr Robinson and her team will have any access to the Data
                    President-Elect   without written permission by WPATH. Prior to the publication of the Data or any
    Walter Pierre Bouman, MD, PhD     part thereof by Dr Robinson and her team, WPATH shall have thirty (30) days in
                         Secretary    which to review and comment on the proposed publication. Dr Robinson and her
                  Randi Ettner, PhD   team will give due regard to WPATH's comments. WPATH has the right to
                         Treasurer    request the deletion of any content within materials intended for publication by Dr
         Baudewijntje Kreukels, PhD   Robinson and her team*”.
                    Past-President
    Gail Knudson, MD, MEd, FRCPC
                                      Since the start of the contract between WPATH and JHU Dr Robinson and her
                                      team have provided systematic literature reviews for the development of
                                      statements of the following chapters: Assessment, Primary Care, Endocrinology,
           BOARD OF DIRECTORS
                 Tamara Adrian, JD
                                      Surgery, Reproductive Medicine, and Voice Therapy. Dr Robinson and team
                  Marci Bowers, MD    have also provided guidance regarding the methodology of the SOC8 and
           Tone Maria Hansen, MSN     feedback for some of the statements.
                  Ren Massey, PhD
          Asa Radix, MD, PhD, MPH
               Loren Schechter, MD
                                      Aim of the Policy
                 Jaimie Veale, PhD
                                      WPATH commissioned and financed an update and the development of the
            EPATH Representative      SOC8 for the benefit of transgender healthcare in order to promote health,
    Walter Pierre Bouman, MD, PhD
                                      research, education, respect, dignity, and equality for trans people globally.
          USPATH Representative
             Erica Anderson, PhD      Therefore, the aim is of this policy is to develop a process to ensure that any
                                      manuscripts developed from the systematic literature reviews commissioned by
    GEI Representative (Ex-Officio)
                   Lin Fraser, EdD

Student Representative (Ex-Officio)
        Penelope Strauss, BA, MPH
                                                                                                 JHU_000002317
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                                      WPATH benefit transgender healthcare and promote health, research, education,
           phone: 1+(847) 752-5328
              fax: 1+(224) 633-2166
                                      respect, dignity, and equality for transgender people globally.

         1061 E Main Street Ste 300   A decision-making process to give access to the Data should be
             East Dundee, IL 60118    underpinned by a number of good practice directives. Hence, WPATH
                                      grants access to the data to any interested party, which:
                           STAFF
                Executive Director    a.       has the intention to use the Data for the benefit of advancing transgender
                    Sue O’Sullivan    health in a positive manner and;
                   sue@wpath.org      b.       has the intention to publish the Data in reputable, academic, peer-
                                      reviewed journals and;
       Executive Director of Global   c.       involves the Work Group Leader of the Chapter or, alternatively, a
         Education & Development      designated representative of that specific SOC8 Chapter, or alternatively the
                       Donna Kelly    Chair or Co-Chairs of the SOC8 in the design, drafting of the article, and the final
                 donna@wpath.org      approval of the article and;
                                      d.       involves at least one member of the transgender community in the
         Deputy Executive Director    design, drafting of the article, and the final approval of the article and**;
                       Blaine Vella   e.       adheres to the WPATH Language Policy***.
                 blaine@wpath.org

 Educational Program Coordinator
                                      Pathway to Approval for Use of WPATH Data
                  Taylor O’Sullivan
                 taylor@wpath.org
                                      WPATH grants approval to use the Data for publication to any interested party,
                                      when:
      Assistant Associate Director
                       Jamie Hicks
                                      a.       the directives outlined under the aim of this policy have been fulfilled
                  jamie@wpath.org
                                      and;
                                      b.       the author(s) have acknowledged that WPATH has sponsored the
          EXECUTIVE COMMITTEE         acquisition of the data in the publication and;
                         President    c.       the author(s) have acknowledged that the authors are solely responsible
           Vin Tangpricha, MD, PhD    for the content of the manuscript, and the manuscript does not necessarily reflect
                    President-Elect   the view of WPATH in the publication and;
    Walter Pierre Bouman, MD, PhD     d.       The publication (“manuscript”) has been approved by WPATH via a
                         Secretary    designated approval process.
                  Randi Ettner, PhD
                         Treasurer    Designated approval process for publication of the Data
         Baudewijntje Kreukels, PhD
                    Past-President    a.       Author(s) submit publication to WPATH
    Gail Knudson, MD, MEd, FRCPC      b.       It is WPATH Executive Committee’s responsibility to ensure that the
                                      manuscript is disseminated to the Chair of the SOC8, the Co-Chairs of the
                                      SOC8, and the members of the WPATH Board of Directors within 7 days after
           BOARD OF DIRECTORS
                                      receipt of the manuscript.
                 Tamara Adrian, JD
                  Marci Bowers, MD
                                      c.       It is WPATH Executive Committee’s responsibility to ensure that a vote is
           Tone Maria Hansen, MSN     held within 14 days after the dissemination of the manuscript to the Chair and
                  Ren Massey, PhD     Co-Chairs of the SOC8 and Board members.
          Asa Radix, MD, PhD, MPH     d.       It will be a blind vote and approval is granted to author(s) for publication
               Loren Schechter, MD
                 Jaimie Veale, PhD
                                      by majority vote. The Chair and Co-Chairs of the SOC8 and Board members all
                                      have one equal vote. In case of a bind, the WPATH President will have the
            EPATH Representative      deciding vote.
    Walter Pierre Bouman, MD, PhD     e.       It is the President’s responsibility to respond to the author(s) with
                                      approval or disapproval within thirty (30) days of submission of the manuscript to
          USPATH Representative
             Erica Anderson, PhD      WPATH.

    GEI Representative (Ex-Officio)
                   Lin Fraser, EdD

Student Representative (Ex-Officio)
        Penelope Strauss, BA, MPH
                                                                                                  JHU_000002318
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                  wpath@wpath.org

                                      f.      In case of disapproval, the President may decide to hold a special
           phone: 1+(847) 752-5328
              fax: 1+(224) 633-2166
                                      meeting with the Chair and Co-Chairs of the SOC8 and Board members to
                                      discuss the manuscript and the reasons for not approving publication.
         1061 E Main Street Ste 300
             East Dundee, IL 60118

                           STAFF      *        This will be referred to as “Confidential Information”, which means all
                Executive Director    non-public, confidential, and/or proprietary information that is marked as
                    Sue O’Sullivan    “Confidential Information” as described below and which is disclosed by one
                   sue@wpath.org      party to the other, including but not limited to software, inventions (whether
                                      patentable or not), algorithms, diagrams, drawings, processes, research, product
       Executive Director of Global   or strategic plans or collaborations or partnerships, financial information, or
         Education & Development      business models. Confidential Information, if in tangible or readable form, shall
                       Donna Kelly    be marked as such at the time of disclosure and if disclosed orally, shall be
                 donna@wpath.org      reduced to writing, marked confidential, and addressed to the other party within
                                      ten (10) days after disclosure.
         Deputy Executive Director
                       Blaine Vella   **       See T’Sjoen, G., Motmans, J., Arcelus, J., & Bouman, W. P. (2017). The
                 blaine@wpath.org     need of patient involvement in transgender healthcare research. Journal of
                                      Sexual Medicine, 14(12), 1494-1495.
 Educational Program Coordinator
                                      Bouman, W. P., Arcelus, J., T’Sjoen, G., De Cuypere, G., Galupo, M. P.,
                  Taylor O’Sullivan
                                      Kreukels, B. P. C., Leibowitz, S., Riggs, D. W., Schechter, L. S., & Veale, J.
                 taylor@wpath.org
                                      (2018). Transgender and gender diverse people’s involvement in transgender
                                      health research. International Journal of Transgenderism, 19(4), 357-358 or
      Assistant Associate Director
                       Jamie Hicks
                                      https://www.tandfonline.com/doi/full/10.1080/15532739.2018.1543066
                  jamie@wpath.org

          EXECUTIVE COMMITTEE
                         President    ***      See Bouman, W. P., Suess, A., Motmans, J., Green, J., Deutsch, M.,
           Vin Tangpricha, MD, PhD    Adams, N., Safer, J., Smiley, A., and Winter, S. (2017). Language and
                    President-Elect   transgender health. International Journal of Transgenderism, 18(1), 1-6 or
    Walter Pierre Bouman, MD, PhD     https://www.tandfonline.com/doi/full/10.1080/15532739.2016.1262127
                         Secretary
                  Randi Ettner, PhD
                         Treasurer
         Baudewijntje Kreukels, PhD   Final Policy Approved June 11, 2020
                    Past-President
    Gail Knudson, MD, MEd, FRCPC



           BOARD OF DIRECTORS
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                 Jaimie Veale, PhD

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    Walter Pierre Bouman, MD, PhD

          USPATH Representative
             Erica Anderson, PhD

    GEI Representative (Ex-Officio)
                   Lin Fraser, EdD

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        Penelope Strauss, BA, MPH
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Brief Summary Proposal to Support Guideline Development for World Professional Association for
Transgender Health

Karen A Robinson, Johns Hopkins University

12 April 17

We are excited about the potential opportunity to support guideline development for the World
Professional Association for Transgender Health (WPATH). We understand that WPATH is seeking to
update and revise the Standards of Care (SOC) for the Health of Transsexual, Transgender, and Gender
Nonconforming People (Version 7, 2011), moving toward an evidence-based guideline. Briefly, we
understand that support for this process would include:

              1) Orientation to the process and refinement of the scope. This includes:
                     a. preliminary searching
                     b. presentation and discussion of systematic review and guideline development
                         processes with WPATH personnel, especially the guideline chairs
                     c. identification of statements for which systematic reviews will be conducted
              2) Conduct systematic reviews, including:
                     a. refinement of questions using PICO format (population, intervention,
                         comparison, outcome)
                     b. search for evidence
                     c. screen results
                     d. data extraction
                     e. data synthesis
                     f. grade certainty or confidence in evidence
                     g. present results for guideline panel (e.g., report, tables, in-person presentation
                         to panel)
              3) Provide orientation and guidance to guideline panel in interpreting results of systematic
                 reviews and in developing recommendation statements
              4) Provide critical feedback on statements and guideline document(s)

Proposed Team and General Structure

The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
Evidence-based Practice Center (EPC) and has been a leader in the Cochrane Collaboration for more
than 20 years. Dr. Robinson has worked with organizations in developing evidence-informed
recommendations and policy. This includes serving on NRC and IOM panels (The National Academies),
and conducting systematic reviews used by professional organizations, and government agencies (e.g.,
USPSTF, CMS, OMAR). She also designed and implemented a process for the development and
maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation
2004-2013). Dr. Robinson is a member of G-I-N, serving on the steering group for GIN Tech. Dr. Robinson
has specific experience in providing guidance and training for guideline panel members in the
assessment of evidence (such as with GRADE) and development of recommendations, guided by the



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standards in systematic reviews and guideline development from the IOM, as well as from guideline
appraisal concepts, such as from AGREE and GLIA. She also has experience in drafting and critically
reviewing guideline documents, specifically ensuring clear links between the evidence and
recommendation statements.

This would not be considered an official EPC project as it will not be conducted through the AHRQ.
However, we propose that this work be conducted by investigators and staff who are at or who have
worked with the EPC. Under leadership from Dr. Robinson, the project would include an experienced
EPC faculty member (Lisa M. Wilson, ScM), and would be managed by an experienced senior project
manager within the EPC. Also available are EPC-affiliated medical librarians and statisticians with
experience in supporting systematic review teams.

For the full team option, we would engage investigators from the newly established Johns Hopkins
Center for Transgender Health (JHCTH), a multidisciplinary center of excellence, established to reduce
health care disparities and improve the overall health of the transgender community through world-
class clinical care, research and medical education. The Center is led by medical director Devin O’Brien
Coon, MD, MSE and clinical program director Paula Neira, MSN, RN, JD. Dr. Coon is a surgeon and
researcher whose medical practice is solely focused on transgender health while Ms. Neira is a U.S.
Naval Academy graduate, Navy veteran, nurse and lawyer who lead advocacy efforts for the repeal of
the “don’t ask, don’t tell” policy and became the first transgender Navy veteran to have her discharge
documentation updated to reflect her correct name. Health outcomes researcher and clinical
informatician Brandyn Lau, MPH, CPH leads the research committee for the JHCTH. Mr. Lau, who also
has experience working on systematic reviews through the EPC, will serve as a co-investigator, while Dr.
O’Brien Coon and Ms. Neira will serve as advisors. We would also engage as a co-investigator Tonia C.
Poteat, PhD from the Department of Epidemiology who has experience in conducting systematic reviews
in this topic area, and is a physician assistant who has provided gender-affirming medical care for
transgender adults since 1996. Finally, Adrian Dobbs, MD would also be invited to serve as an advisor
providing expertise in the hormonal management of transgender patients. Further details on proposed
personnel, including biosketches, are available upon request.

We have extensive experience in conducting high quality systematic reviews, including updates, while
adhering to strict timelines with deliverables. We also have experience in addressing challenges in
evidence synthesis. For instance, Dr. Robinson serves on the Methods Steering Committee for the AHRQ
EPC Program and has led workgroups developing guidance on integrating different types of evidence,
such as existing reviews, into new systematic reviews.

Estimated Cost

The inclusion of the full team described above, assuming a one year budget year, would have total direct
cost of about $291,000. The IDC rate is to be negotiated. We would welcome the opportunity to revise
our budget estimate to meet different time or cost variables. For instance, relying more on the guideline
panel members to provide input throughout the process versus internal experts could be an option to
lower this estimate.




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Should we be considered further, we would appreciate the opportunity to submit questions or to have
an additional phone call. In the event that this may be helpful in furthering your process, we include
here some of our questions:

    •    Is there a plan to create a publication or other document outlining the process by which the
         WPATH guideline panels develop recommendation statements? (We assume that this would
         include outlining a different process for statements that have or do not have evidence for
         support.)
    •    What materials are available from the 2011 guideline that is to be updated? i.e., are full-text
         references available? are data abstraction files or table files available?

We look forward to the opportunity to provide further details for consideration after the initial review of
this summary proposal.


Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
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Brief Summary Proposal to Support Guideline Development for World Professional Association for
Transgender Health

Karen A Robinson, Johns Hopkins University

26 April 17

We are excited about the potential opportunity to support guideline development for the World
Professional Association for Transgender Health (WPATH). We understand that WPATH is seeking to
update and revise the Standards of Care (SOC) for the Health of Transsexual, Transgender, and Gender
Nonconforming People (Version 7, 2011), moving toward an evidence-based guideline. We understand
that the full-support option for this process would include (please see below for other options):

              1) Orientation to the process and refinement of the scope. This includes:
                     a. preliminary searching
                     b. presentation and discussion of systematic review and guideline development
                         processes with WPATH personnel, especially the guideline chairs
                     c. identification of statements for which systematic reviews will be conducted
              2) Conduct systematic reviews, including:
                     a. refinement of questions using PICO format (population, intervention,
                         comparison, outcome)
                     b. search for evidence
                     c. screen results
                     d. data extraction
                     e. data synthesis
                     f. grade certainty or confidence in evidence
                     g. present results for guideline panel (e.g., report, tables, in-person presentation
                         to panel)
              3) Provide orientation and guidance to guideline panel in interpreting results of systematic
                 reviews and in developing recommendation statements
              4) Provide critical feedback on statements and guideline document(s)

Proposed Team and General Structure

The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
Evidence-based Practice Center (EPC) and has been a leader in the Cochrane Collaboration for more
than 20 years. Dr. Robinson has worked with organizations in developing evidence-informed
recommendations and policy. This includes serving on NRC and IOM panels (The National Academies),
and conducting systematic reviews used by professional organizations, and government agencies (e.g.,
USPSTF, CMS, OMAR). She also designed and implemented a process for the development and
maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation
2004-2013). Dr. Robinson is a member of G-I-N, serving on the steering group for GIN Tech. Dr. Robinson
has specific experience in providing guidance and training for guideline panel members in the
assessment of evidence (such as with GRADE) and development of recommendations, guided by the



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standards in systematic reviews and guideline development from the IOM, as well as from guideline
appraisal concepts, such as from AGREE and GLIA. She also has experience in drafting and critically
reviewing guideline documents, specifically ensuring clear links between the evidence and
recommendation statements.

This would not be considered an official EPC project as it will not be conducted through the AHRQ.
However, we propose that this work be conducted by investigators and staff who are at or who have
worked with the EPC. Under leadership from Dr. Robinson, the project would include an experienced
EPC faculty member (Lisa M. Wilson, ScM), and would be managed by an experienced senior project
manager within the EPC. Also available are EPC-affiliated medical librarians and statisticians with
experience in supporting systematic review teams.

For the full support option, we would engage investigators from the newly established Johns Hopkins
Center for Transgender Health (JHCTH), a multidisciplinary center of excellence, established to reduce
health care disparities and improve the overall health of the transgender community through world-
class clinical care, research and medical education. The Center is led by medical director Devin O’Brien
Coon, MD, MSE and clinical program director Paula Neira, MSN, RN, JD. Dr. Coon is a surgeon and
researcher whose medical practice is solely focused on transgender health while Ms. Neira is a U.S.
Naval Academy graduate, Navy veteran, nurse and lawyer who lead advocacy efforts for the repeal of
the “don’t ask, don’t tell” policy and became the first transgender Navy veteran to have her discharge
documentation updated to reflect her correct name. Health outcomes researcher and clinical
informatician Brandyn Lau, MPH, CPH leads the research committee for the JHCTH. Mr. Lau, who also
has experience working on systematic reviews through the EPC, will serve as a co-investigator, while Dr.
O’Brien Coon and Ms. Neira will serve as advisors. We would also engage as a co-investigator Tonia C.
Poteat, PhD from the Department of Epidemiology who has experience in conducting systematic reviews
in this topic area, and is a physician assistant who has provided gender-affirming medical care for
transgender adults since 1996. Finally, Adrian Dobbs, MD would also be invited to serve as an advisor
providing expertise in the hormonal management of transgender patients. Further details on proposed
personnel, including biosketches, are available upon request.

We have extensive experience in conducting high quality systematic reviews, including updates, while
adhering to strict timelines with deliverables. We also have experience in addressing challenges in
evidence synthesis. For instance, Dr. Robinson serves on the Methods Steering Committee for the AHRQ
EPC Program and has led workgroups developing guidance on integrating different types of evidence,
such as existing reviews, into new systematic reviews.

Estimated Cost

Each estimate assumes a one year budget period and that the IDC rate is to be negotiated.

   1. Full Team/ Full Support Option: The inclusion of the full team described above for the full
      support option (steps 1-4 above) would have total direct cost of about $291,000.
   2. Core Team only: Inclusion of core team only for conduct of systematic reviews, and effort for
      front and back end activities (steps 1-4 above), is about $178,000 direct cost.



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    3. Restricted Core Team only: Inclusion of core team only. Completion of step 2 only with limited
       scope (e.g., one question/recommendation statement, use of existing reviews, etc.). Direct cost
       estimated at about $136,000.

Should we be considered further, we would appreciate the opportunity to submit questions or to have
an additional phone call. In the event that this may be helpful in furthering your process, we include
here some of our questions:

    •    Is there a plan to create a publication or other document outlining the process by which the
         WPATH guideline panels develop recommendation statements? (We assume that this would
         include outlining a different process for statements that have or do not have evidence for
         support.)
    •    What materials are available from the 2011 guideline that is to be updated? i.e., are full-text
         references available? Are data abstraction files or table files available?
    •    Does WPATH have a standard IDC rate?

We look forward to the opportunity to provide further details for consideration after the initial review of
this summary proposal.


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Preliminary Activities Report for JHU Project “Support Guideline Development for World Professional
Association for Transgender Health”

Karen A Robinson, Johns Hopkins University

27 Jan 19

We signed the contract to conduct activities to support the development of Standards of Care (SOC) 8 with a
start date of 1 April 2018 with an end date of 31 March 2019. The total cost (direct and indirect) was $196,307.

We proposed the following tasks and have briefly noted below the status of each:

1)    In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
     Procedures Manual”.
     - Guideline development methods document drafted (July 2018)
     - Conflict of Interest policy and disclosure of interest form drafted (Nov 2018)
     - Drafted Chapter Template, including guidance on and examples of text (July 2018)

2) Orientation to the guideline development process and refinement of the scope. This includes:
       a. presentation and discussion of systematic review and guideline development processes with WPATH
           personnel, especially the guideline chairs
   - provided overview of process during two calls with chairs and chapter leads (July 2018)
   - provided overview and assistance with scope in Buenos Aires (Nov 2018)

         b. preliminary searching
     -   conducted preliminary searching (June 2018)
     -   provided a register of relevant articles, sorted by chapter (July 2018)

         c. identification of statements within chapters for which systematic reviews will be conducted
     -   reviewed SOC7 and extracted statements that seemed to be recommendations. Provided listing, and
         initial identification as to those needed systematic reviews, to Chairs and Chapters. (May 2018)

3) Conduct systematic reviews for the topics selected, including:
      a. refinement of questions using PICO format (population, intervention, comparison, outcome)
      b. search for evidence
      c. screen results
      d. data extraction
      e. data synthesis
      f. grade certainty or confidence in evidence
      g. present results for guideline panel (e.g., report, tables, in-person presentation to panel)
   - received last set of questions from chapters in mid-December 2018
   - completed protocols for systematic reviews for adolescent, hormone, surgery and voice chapters
   - registering protocols on PROSPERO
   - In process of completing systematic reviews addressing 34 questions and 23 subquestions (plus those
      received in December)



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4) Provide orientation and guidance to guideline panel in interpreting results of systematic reviews and in
   developing recommendation statements. This includes providing guidance on development of consensus-
   based statements or good practice statements.
   - Provided written guidance on drafting recommendations (July 2018)
   - Provided a presentation in Buenos Aires for Chairs and Chapter leads; met individually with most
       chapters (Nov 2018)

5) Provide critical feedback on statements and guideline document(s).
   - Provided critical feedback on statements received to date

6) Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
   Clearinghouse (guidelines.gov).

In addition to above, I have met regularly with the SOC8 Chairs (for instance, I drafted a ‘tracking sheet’ to track
questions and recommendations received and other notes regarding status). I have also have joined chapter
calls or had separate calls with Chapter Leads, as requested. All methods documents have been posted on the
shared SOC8 drive.




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Brief Summary Proposal to Support Guideline Development for World Professional Association for
Transgender Health

Karen A Robinson, Johns Hopkins University

23 June 17

We are excited about the potential opportunity to support guideline development for the World Professional
Association for Transgender Health (WPATH). We understand that WPATH is seeking to update and revise the
Standards of Care (SOC) for the Health of Transsexual, Transgender, and Gender Nonconforming People (Version
7, 2011), moving toward an evidence-based guideline.

We propose the following tasks:

1)   In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
     Procedures Manual”.
2)   Orientation to the guideline development process and refinement of the scope. This includes:
         a. presentation and discussion of systematic review and guideline development processes with WPATH
             personnel, especially the guideline chairs
         b. preliminary searching
         c. identification of statements within chapters for which systematic reviews will be conducted
3)   Conduct systematic reviews for the topics selected, including:
         a. refinement of questions using PICO format (population, intervention, comparison, outcome)
         b. search for evidence
         c. screen results
         d. data extraction
         e. data synthesis
         f. grade certainty or confidence in evidence
         g. present results for guideline panel (e.g., report, tables, in-person presentation to panel)
4)   Provide orientation and guidance to guideline panel in interpreting results of systematic reviews and in
     developing recommendation statements. This includes providing guidance on development of consensus-
     based statements or good practice statements.
5)   Provide critical feedback on statements and guideline document(s).
6)   Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
     Clearinghouse (guidelines.gov).

Proposed Team and General Structure

The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
Evidence-based Practice Center (EPC) and has been a leader in the Cochrane Collaboration for more than 20
years. Dr. Robinson has worked with organizations in developing evidence-informed recommendations and
policy. This includes serving on NRC and IOM panels (The National Academies), and conducting systematic
reviews used by professional organizations, and government agencies (e.g., USPSTF, CMS, OMAR). She also
designed and implemented a process for the development and maintenance (including updating) of evidence-
based guidelines for a large organization (CF Foundation 2004-2013). Dr. Robinson is a member of G-I-N, serving
on the steering group for GIN Tech. Dr. Robinson has specific experience in providing guidance and training for



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guideline panel members in the assessment of evidence (such as with GRADE) and development of
recommendations, guided by the standards in systematic reviews and guideline development from the IOM, as
well as from guideline appraisal concepts, such as from AGREE and GLIA. She also has experience in drafting and
critically reviewing guideline documents, specifically ensuring clear links between the evidence and
recommendation statements.

This would not be considered an official EPC project as it will not be conducted through the AHRQ. However, we
propose that this work be conducted by investigators and staff who are at or who have worked with the EPC.
Under leadership from Dr. Robinson, the project would include an experienced EPC faculty member (Lisa M.
Wilson, ScM), and would be managed by an experienced senior project manager within the EPC. Also available
are EPC-affiliated medical librarians and statisticians with experience in supporting systematic review teams.

We have extensive experience in conducting high quality systematic reviews, including updates, while adhering
to strict timelines with deliverables. We also have experience in addressing challenges in evidence synthesis. For
instance, Dr. Robinson serves on the Methods Steering Committee for the AHRQ EPC Program and has led
workgroups developing guidance on integrating different types of evidence, such as existing reviews, into new
systematic reviews.

We will rely on WPATH personnel, including guideline chairs, chapter leads and, as relevant, chapter committee
members, as the domain experts. Their input will ensure that we are addressing the appropriate questions and
producing reviews and report(s) that will be most useful in developing the guidelines. Input will be sought at the
beginning of the work and, as needed, to address any domain-specific questions throughout the process.

Estimated Cost

We have prepared a budget for 16 months, assuming start date of 1 July 2017 to end of October 2018 (we
understand need to present details on the process and some chapters at the WPATH World Congress). The
direct cost for the 16 months is $223,385. The IDC (indirect cost; also called ‘facilities and administrative’ fee or
overhead) is to be negotiated, pending allowable costs per sponsor. Travel costs, such as to attend meetings to
provide orientation or report results, will be reimbursed separately. Final payment schedule to be negotiated;
we would suggest quarterly.

We look forward to the opportunity to provide further details or respond to any questions.

Karen A. Robinson, PhD
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                       Brief Summary Proposal to Support Guideline Development

                        for World Professional Association for Transgender Health




                                               31 July 17




Karen A. Robinson, PhD
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Robinson, JHU

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We are excited about the opportunity to support guideline development for the World Professional Association
for Transgender Health (WPATH). We understand that WPATH is seeking to update and revise the Standards of
Care (SOC) for the Health of Transsexual, Transgender, and Gender Nonconforming People (Version 7, 2011). We
are particularly excited to help WPATH develop evidence-based guidelines by providing an independent
evidence-review team to conduct rigorous, comprehensive, and transparent systematic reviews to inform the
guideline recommendations.

We propose the following services to support WPATH and SOC8:
1) In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
   Procedures Manual”.
2) Orientation to the guideline development process and refinement of the scope. This includes:
        a. presentation and discussion of systematic review and guideline development processes with WPATH
            personnel, especially the guideline chairs and chapter leads
        b. preliminary searching
        c. identification of statements within chapters for which systematic reviews will be conducted, and
            which will be ‘best practice statements’ based on consensus expert opinion
3) Conduct systematic reviews for the topics selected, including:
        a. refinement of questions using PICO format (population, intervention, comparison, outcome)
        b. search for evidence
        c. screen results
        d. data extraction
        e. data assessment and synthesis
        f. grade certainty or confidence in evidence
        g. presentation of results to guideline panel (e.g., report, evidence and summary tables, in-person
            presentation to panel).
4) Provide orientation and guidance to guideline panel in interpreting results of systematic reviews, in
   developing recommendation statements, and in grading the recommendation statements. This includes
   providing guidance on development of consensus-based or good practice statements.
5) Provide critical feedback on statements and guideline document(s). * We understand need to, and will
   facilitate, the presentation of details on the process and, at least, some chapters at the WPATH World
   Congress.
6) Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
   Clearinghouse (guidelines.gov).

Proposed Team and General Structure

The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
Evidence-based Practice Center (EPC) and has been a leader in Cochrane for more than 20 years. (Please see
attached CV.) Dr. Robinson has worked with a number of multi-specialty organizations in developing evidence-
informed recommendations and policy, including serving on NRC and IOM panels (The National Academies), and
conducting systematic reviews used by professional organizations, and government agencies (e.g., CF
Foundation, KDIGO, USPSTF, CMS, OMAR). She also designed and implemented a process for the development
and maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation). Dr.
Robinson, JHU

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Robinson is a member of G-I-N (Guidelines International Network), serving on the steering group for G-I-N Tech.
Dr. Robinson has specific experience in providing guidance and training for guideline panel members in the
assessment of evidence (such as with GRADE) and the development of recommendations, guided by the
standards guideline development from the IOM, as well as from guideline appraisal concepts, such as from
AGREE and GLIA. She also has experience in drafting and critically reviewing guideline documents, specifically
ensuring clear links between the evidence and recommendation statements.

Under leadership from Dr. Robinson, the project would include an experienced EPC faculty member (Lisa M.
Wilson, ScM). Ms. Wilson is a Research Associate, Health Policy & Management and has been at the EPC for over
10 years; she has managed and led 19 EPC evidence reviews. (Please see CV.) Ms. Wilson has also conducted
research to improve systematic review methodology. Ms. Wilson was a key team player, taking the lead on
several sections, for our work with the KDIGO guidelines.

The project would be managed by an experienced senior project manager, with the assistance of an experienced
Research Assistant. Additionally, we plan to engage graduate students to assist with tasks such as screening and
data extraction. Also available are EPC-affiliated medical librarians and statisticians with experience in
supporting systematic review teams.

We have extensive experience in conducting high quality systematic reviews, while adhering to strict timelines
with deliverables. We also have experience in addressing challenges in evidence synthesis. For instance, Dr.
Robinson serves on the Methods Steering Committee for the AHRQ EPC Program and has led workgroups
developing guidance on integrating different types of evidence, such as existing reviews, into new systematic
reviews.

As we have done with some of our prior work, we will rely on WPATH personnel, including guideline chairs,
chapter leads and, as relevant, chapter committee members, as the domain experts. Their input will ensure that
we are addressing the appropriate questions and producing reviews and report(s) that will be most useful in
developing the guidelines. Input will be sought at the beginning of the work and, as needed, to address any
domain-specific questions throughout the process.

Estimated Cost

We have prepared a budget for 12 months, assuming start date of 1 September 2017, with direct cost $178,461.
We understand that WPATH has a policy of not paying more than 10% IDC (indirect cost; also called ‘facilities
and administrative’ fee or overhead) so total proposed budget is $196,307. Travel costs, such as to attend
meetings to provide orientation or report results, will be reimbursed separately. As in the prior proposals
submitted, we would be open to discussing ways to lower the total budget, such as limiting the number or scope
of the reviews, or limiting the services provided.

We suggest a quarterly payment schedule based on milestones, for example:
   1. upon initiation of project with signed contract
   2. upon submission of final PICO document outlining questions for review
   3. upon submission of the draft report of the systematic reviews
   4. upon submission of final report of systematic reviews

We look forward to the opportunity to provide further details or to respond to any questions.

Robinson, JHU

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Please find attached CVs for Dr. Robinson and Ms. Wilson.




Robinson, JHU

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   Policy & Procedures Regarding the Use of WPATH SOC8 Data
                              Revised August 2020

This policy will be shared with every SOC8 member in order to inform them
of the process of SOC8 Data Use and to allow each SOC8 member to apply
to access the existing SOC8 data as described below

Background to the Policy

In April 2018 WPATH commissioned John Hopkins University (JHU) to
support the development of the 8th edition of the Standards of Care for the
Health of Transsexual, Transgender, and Gender Nonconforming People
(SOC8). WPATH entered into a Sponsored Research Agreement with John
Hopkins University on behalf of its School of Medicine with Dr Karen A.
Robinson, Director at JHU Evidence-based Practice Center as principal
investigator in conducting the research for WPATH. WPATH contracted Dr
Robinson and her team to perform systematic literature reviews and other
activities to support the development of the 8th edition of SOC.

The contract between WPATH and JHU states the following regarding Data
use and Publications: “the term "Data" principally includes raw data,
research data, records, reports, notes, tables, writing, sound recordings,
pictorial reproduction, drawings or other graphical representations, and
works of any similar nature (whether or not copyrighted) which are
generated or specified to be delivered by Dr Robinson and her team in
connection with the update and development of the SOC8”.

“Notwithstanding anything to the contrary contained in the contract between
WPATH and JHU, WPATH shall retain the unrestricted right to use the
Data, or any part thereof at any time, in any manner and for any purpose,
including the publication of the Data and the communication of Data to third
parties. No other parties other than Dr Robinson and her team will have any
WPATH Policy Use of Data for SOC8 – Version 2
Approved by WPATH Board of Directors – August 2020


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access to the Data without written permission by WPATH. Prior to the
publication of the Data or any part thereof by Dr Robinson and her team,
WPATH shall have thirty (30) days in which to review and comment on the
proposed publication. Dr Robinson and her team will give due regard to
WPATH's comments. WPATH has the right to request the deletion of any
content within materials intended for publication by Dr Robinson and her
team”.
Since the start of the contract between WPATH and JHU Dr Robinson and
her team have provided systematic literature reviews for the development of
statements of the following chapters: Assessment, Primary Care,
Endocrinology, Surgery, Reproductive Medicine, and Voice Therapy. Dr
Robinson and team have also provided guidance regarding the methodology
of the SOC8 and feedback for some of the statements.

Aim of the Policy

WPATH commissioned and financed an update and the development of the
SOC8 for the benefit of transgender healthcare in order to promote health,
research, education, respect, dignity, and equality for trans people globally.

Therefore, the aim is of this policy is to develop and to describe a process to
ensure that any manuscripts developed from the systematic literature reviews
commissioned by WPATH benefit transgender healthcare and promote
health, research, education, respect, dignity, and equality for transgender
people globally.

A decision-making process to give access to the Data should be underpinned
by a number of good practice directives. Hence, WPATH grants access to
the data to any interested party, which:

   a. has the intention to use the Data for the benefit of advancing
      transgender health in a positive manner and;
   b. has the intention to publish the Data in reputable, academic, peer-
      reviewed journals and;
   c. involves the Work Group Leader of the Chapter or, alternatively, a
      designated representative of that specific SOC8 Chapter, or
      alternatively the Chair or Co-Chairs of the SOC8 in the design,
      drafting of the article, and the final approval of the article and;

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   d. involves at least one member of the transgender community in the
      design, drafting of the article, and the final approval of the article
      and**;
   e. adheres to the WPATH Language Policy and/or similar
      publications***.




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Pathway to approval for use of WPATH Data

WPATH grants approval to use the Data for publication to any interested
party, when:
   a. the directives outlined under the aim of this policy have been fulfilled
       and;
   b. the author(s) have acknowledged that WPATH has sponsored the
       acquisition of the data in the publication and;
   c. the author(s) have acknowledged that the authors are solely
       responsible for the content of the manuscript, and the manuscript does
       not necessarily reflect the view of WPATH in the publication and;
   d. The publication (“manuscript”) has been approved by WPATH via a
       designated approval process.

   Designated approval process for publication of Data (see Figure 1)




                                      WPATH shares proposal
                                                                 WPATH EC ensures vote
     Submission publication           with Chair & Co-Chairs,
                                                                 within 30 days after the
     proposal to WPATH and               BOD, & Chapter
                                                                  dissemination of the
       link to SOC8 chapter           members; to identify 1
                                                                        proposal.
                                         Chapter member




                                                                  President responds to
                              When manuscript draft ready for
                                                                   the author regarding
                               publication, author will submit
                                                                 outcome of vote within
                              publication to WPATH for similar
                                                                 60 days of submission of
                                      approval process
                                                                 the proposal to WPATH.




Figure 1 - Designated approval process for publication of Data


   1. The lead author submits a proposal of the publication to WPATH with
      the following headings: Background; Aim(s); Method; Results;


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      Conclusion (Maximum 1 page and states which SOC8 chapter the
      publication is linked to);
   2. It is WPATH’s responsibility that the proposal is shared with the
      Chair and Co-Chairs of the SOC8, the members of the WPATH Board
      of Directors and all members of the SOC8 chapter linked to the
      proposed publication within 14 days after receipt of the proposal. The
      aim will be to identify an individual (s) from the chapter (maximum 2
      individuals if a publication concerns more than one chapter) who will
      work with the lead author(s) of the proposed publication (unless the
      lead author is already working with one or more Working Group
      members); it is the responsibility of the Working Group as a whole to
      identify and to nominate one of their members, either by vote or
      general consensus within the Working Group.
   3. WPATH will keep a record of the possible proposals with deadlines
      for draft submissions - in order to avoid the development of multiple
      papers with the same aims using the same data;
   4. It is WPATH Executive Committee’s responsibility to ensure that a
      vote is held within 30 days after the dissemination of the proposal.
   5. It will be a blind vote and approval to write the paper is granted to the
      author(s) by majority vote. In case of a tie, the WPATH President
      will have the deciding vote.
   6. It is the President’s responsibility to respond to the author(s) with
      approval or disapproval within fifty-six (56) days of submission of the
      proposal to WPATH.
   7. Once the manuscript draft is ready for publication, the lead author will
      submit the publication to WPATH
   8. It is WPATH Executive Committee’s responsibility to ensure that the
      manuscript is disseminated to the Chair of the SOC8, the Co-Chairs of
      the SOC8, and the members of the WPATH Board of Directors within
      7 days after receipt of the manuscript.
   9. It is WPATH Executive Committee’s responsibility to ensure that a
      vote is held within 14 days after the dissemination of the manuscript
      to the Chair and Co-Chairs of the SOC8 and Board members.
   10.It will be a blind vote and approval is granted to author(s) for
      publication by majority vote. The Chair and Co-Chairs of the SOC8
      and Board members all have one equal vote. In case of a tie, the
      WPATH President will have the deciding vote.


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   11.It is the President’s responsibility to respond to the author(s) with
      approval or disapproval within thirty (30) days of submission of the
      manuscript to WPATH.
   12.In case of disapproval, the President may decide to hold a special
      meeting with the Chair and Co-Chairs of the SOC8 and Board
      members to discuss the manuscript and the reasons for not approving
      publication.
   13.There may be cases where it will be in the benefit of the SOC8
      development process to publish the manuscript before the SOC8 has
      been completed, but there may be cases when the manuscript will only
      be approved for submission after the SOC8 has been published,
      acknowledging that the data for the manuscript may need to be
      refreshed.




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*     This will be referred to as “Confidential Information”, which means
      all non-public, confidential, and/or proprietary information that is
      marked as “Confidential Information” as described below and which
      is disclosed by one party to the other, including but not limited to
      software, inventions (whether patentable or not), algorithms,
      diagrams, drawings, processes, research, product or strategic plans or
      collaborations or partnerships, financial information, or business
      models. Confidential Information, if in tangible or readable form,
      shall be marked as such at the time of disclosure and if disclosed
      orally, shall be reduced to writing, marked confidential, and addressed
      to the other party within ten (10) days after disclosure.
**    See T’Sjoen, G., Motmans, J., Arcelus, J., & Bouman, W. P. (2017).
      The need of patient involvement in transgender healthcare research.
      Journal of Sexual Medicine, 14(12), 1494-1495.
      Bouman, W. P., Arcelus, J., T’Sjoen, G., De Cuypere, G., Galupo, M.
      P., Kreukels, B. P. C., Leibowitz, S., Riggs, D. W., Schechter, L. S.,
      & Veale, J. (2018). Transgender and gender diverse people’s
      involvement in transgender health research. International Journal of
      Transgenderism, 19(4), 357-358 or
      https://www.tandfonline.com/doi/full/10.1080/15532739.2018.154306
      6
***   See Bouman, W. P., Suess, A., Motmans, J., Green, J., Deutch, M.,
      Adams, N., Safer, J., Smiley, A., and Winter, S. (2017). Language and
      transgender health. International Journal of Transgenderism, 18(1), 1-
      6 or
      https://www.tandfonline.com/doi/full/10.1080/15532739.2016.126212
      7
      See T’Sjoen, G., Radix, A., Motmans, J. (2020). Language & Ethics
      in Transgender Health. Journal of Sexual Medicine. Advanced online
      publication. doi.org/10.1016/j.jsxm.2020.05.017




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                       Brief Summary Proposal to Support Guideline Development

                        for World Professional Association for Transgender Health




                                               31 July 17




Karen A. Robinson, PhD
Director JHU Evidence-based Practice Center
Associate Professor of Medicine, Epidemiology, and Health Policy and Management
Johns Hopkins University
            REDACTED
     REDACTED
 REDACTED
   REDACTED




Robinson, JHU

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We are excited about the opportunity to support guideline development for the World Professional Association
for Transgender Health (WPATH). We understand that WPATH is seeking to update and revise the Standards of
Care (SOC) for the Health of Transsexual, Transgender, and Gender Nonconforming People (Version 7, 2011). We
are particularly excited to help WPATH develop evidence-based guidelines by providing an independent
evidence-review team to conduct rigorous, comprehensive, and transparent systematic reviews to inform the
guideline recommendations.

We propose the following services to support WPATH and SOC8:
1) In consultation with WPATH personnel, draft initial guidelines development process or “WPATH Guideline
   Procedures Manual”.
2) Orientation to the guideline development process and refinement of the scope. This includes:
        a. presentation and discussion of systematic review and guideline development processes with WPATH
            personnel, especially the guideline chairs and chapter leads
        b. preliminary searching
        c. identification of statements within chapters for which systematic reviews will be conducted, and
            which will be ‘best practice statements’ based on consensus expert opinion
3) Conduct systematic reviews for the topics selected, including:
        a. refinement of questions using PICO format (population, intervention, comparison, outcome)
        b. search for evidence
        c. screen results
        d. data extraction
        e. data assessment and synthesis
        f. grade certainty or confidence in evidence
        g. presentation of results to guideline panel (e.g., report, evidence and summary tables, in-person
            presentation to panel).
4) Provide orientation and guidance to guideline panel in interpreting results of systematic reviews, in
   developing recommendation statements, and in grading the recommendation statements. This includes
   providing guidance on development of consensus-based or good practice statements.
5) Provide critical feedback on statements and guideline document(s). * We understand need to, and will
   facilitate, the presentation of details on the process and, at least, some chapters at the WPATH World
   Congress.
6) Provide assistance in submission of relevant guideline modules or chapters to the National Guideline
   Clearinghouse (guidelines.gov).

Proposed Team and General Structure

The proposed PI (Karen A. Robinson, PhD) is Director of the AHRQ-designated Johns Hopkins University
Evidence-based Practice Center (EPC) and has been a leader in Cochrane for more than 20 years. (Please see
attached CV.) Dr. Robinson has worked with a number of multi-specialty organizations in developing evidence-
informed recommendations and policy, including serving on NRC and IOM panels (The National Academies), and
conducting systematic reviews used by professional organizations, and government agencies (e.g., CF
Foundation, KDIGO, USPSTF, CMS, OMAR). She also designed and implemented a process for the development
and maintenance (including updating) of evidence-based guidelines for a large organization (CF Foundation). Dr.
Robinson, JHU

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Robinson is a member of G-I-N (Guidelines International Network), serving on the steering group for G-I-N Tech.
Dr. Robinson has specific experience in providing guidance and training for guideline panel members in the
assessment of evidence (such as with GRADE) and the development of recommendations, guided by the
standards guideline development from the IOM, as well as from guideline appraisal concepts, such as from
AGREE and GLIA. She also has experience in drafting and critically reviewing guideline documents, specifically
ensuring clear links between the evidence and recommendation statements.

Under leadership from Dr. Robinson, the project would include an experienced EPC faculty member (Lisa M.
Wilson, ScM). Ms. Wilson is a Research Associate, Health Policy & Management and has been at the EPC for over
10 years; she has managed and led 19 EPC evidence reviews. (Please see CV.) Ms. Wilson has also conducted
research to improve systematic review methodology. Ms. Wilson was a key team player, taking the lead on
several sections, for our work with the KDIGO guidelines.

The project would be managed by an experienced senior project manager, with the assistance of an experienced
Research Assistant. Additionally, we plan to engage graduate students to assist with tasks such as screening and
data extraction. Also available are EPC-affiliated medical librarians and statisticians with experience in
supporting systematic review teams.

We have extensive experience in conducting high quality systematic reviews, while adhering to strict timelines
with deliverables. We also have experience in addressing challenges in evidence synthesis. For instance, Dr.
Robinson serves on the Methods Steering Committee for the AHRQ EPC Program and has led workgroups
developing guidance on integrating different types of evidence, such as existing reviews, into new systematic
reviews.

As we have done with some of our prior work, we will rely on WPATH personnel, including guideline chairs,
chapter leads and, as relevant, chapter committee members, as the domain experts. Their input will ensure that
we are addressing the appropriate questions and producing reviews and report(s) that will be most useful in
developing the guidelines. Input will be sought at the beginning of the work and, as needed, to address any
domain-specific questions throughout the process.

Estimated Cost

We have prepared a budget for 12 months, assuming start date of 1 September 2017, with direct cost $178,461.
We understand that WPATH has a policy of not paying more than 10% IDC (indirect cost; also called ‘facilities
and administrative’ fee or overhead) so total proposed budget is $196,307. Travel costs, such as to attend
meetings to provide orientation or report results, will be reimbursed separately. As in the prior proposals
submitted, we would be open to discussing ways to lower the total budget, such as limiting the number or scope
of the reviews, or limiting the services provided.

We suggest a quarterly payment schedule based on milestones, for example:
   1. upon initiation of project with signed contract
   2. upon submission of final PICO document outlining questions for review
   3. upon submission of the draft report of the systematic reviews
   4. upon submission of final report of systematic reviews

We look forward to the opportunity to provide further details or to respond to any questions.

Robinson, JHU

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Please find attached CVs for Dr. Robinson and Ms. Wilson.




Robinson, JHU

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                 www.wpath.org
                wpath@wpath.org

          phone: 1+(847) 752-5328    August 26, 2020
             fax: 1+(224) 633-2166
                                     Dear Karen:
       1061 E Main Street Ste 300
           East Dundee, IL 60118
                                     We hope this email finds you well.
                          STAFF
               Executive Director    On behalf of the Executive Committee, the SOCv8 Chair and Co-Chairs of
                   Sue O’Sullivan    WPATH, we wanted to be sure to respond to you in writing prior to the 30 days
                  sue@wpath.org
                                     deadline of the current 2 submitted manuscripts to WPATH.
     Executive Director of Global
       Education & Development       In addition, we want to set out in writing to you how we would like you and
                     Donna Kelly     your team at JHU to proceed with writing and publishing future manuscripts
               donna@wpath.org       from the WPATH SOCv8 data.
       Deputy Executive Director
                     Blaine Vella    The last 2 manuscripts were submitted for review on 27 July 2020. While the
               blaine@wpath.org      manuscripts have been under review, there have been many concerns noted
                                     regarding these papers by our Board of Directors and SOCv8 Chair and Co-
Educational Program Coordinator      Chairs.
                 Taylor O’Sullivan
                taylor@wpath.org
                                     In essence, the 2 manuscripts were evaluated on as per our Policy & Procedures
     Assistant Associate Director    Regarding the Use of WPATH SOC8 Data and the outcome of this evaluation was
                      Jamie Hicks    that the 2 manuscripts do not adhere to our Policy & Procedures Regarding the
                 jamie@wpath.org
                                     Use of WPATH SOC8 Data. This was due to point c of the Aim section: “involves
        EXECUTIVE COMMITTEE
                                     the Work Group Leader of the Chapter or, alternatively, a designated
                       President     representative of that specific SOC8 Chapter, or alternatively the Chair or Co-
         Vin Tangpricha, MD, PhD     Chairs of the SOC8 in the design, drafting of the article, and the final approval of
                  President-Elect    the article”.
  Walter Pierre Bouman, MD, PhD
                       Secretary
                Randi Ettner, PhD    We have discussed as a group how we can help you and your team addressing
                       Treasurer     these issues in order for the two papers to be ready for submission.
       Baudewijntje Kreukels, PhD
                  Past-President
  Gail Knudson, MD, MEd, FRCPC
                                     As per the Policy & Procedures Regarding the Use of WPATH SOC8 Data you will
                                     need to reach out to the Work Group Leader of the Chapters related to the 2
                                     manuscripts and ask him/her/they to identify one person within the chapter
                                     group to work with your team in order for the manuscripts to be finalised.
                                     Should you have difficulties getting into contact with a Work Group Leader, the
                                     SOCv8 Chair or Co-Chairs will be available to assist. This will ensure that the
                                     quality of the manuscripts fulfils adequate standards of form and content in
                                     trans health care; and is conform our Policy. It would be reasonable for this
                                     expert to be listed as a co-author of the manuscript.

                                     In order to guaranty a quicker process for the development of future
                                     publications that use the WPATH SOCv8 data, the Policy has been adapted in
                                     order to include an approval process at an earlier stage. If anyone involved in
                                     the SOCv8 process, including yourself, would like to write a publication using the



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                 www.wpath.org
                wpath@wpath.org

          phone: 1+(847) 752-5328    SOCv8 data they should follow a designated approval process (please see Figure
             fax: 1+(224) 633-2166   1 below).

       1061 E Main Street Ste 300    We have revised our Policy & Procedures Regarding the Use of WPATH SOCv8
           East Dundee, IL 60118
                                     Data to ensure that further publication of WPATH SOCv8 is carried out in an
                          STAFF      orderly fashion; and that the Policy & Procedures are adhered to in full. We do
               Executive Director    hope that this process would encourage collaboration between your team and
                   Sue O’Sullivan    members of the SOCv8, who are the experts in their field, as this will be of
                  sue@wpath.org
                                     benefit to everyone.
     Executive Director of Global
       Education & Development       We would like to organise a Zoom meeting between us and yourself so the
                     Donna Kelly     content of this letter can be discussed. Therefore, we would like to request that
               donna@wpath.org       the 2 manuscripts are put "on hold" for submission, until we are able to meet
                                     with you (via ZOOM video call).
       Deputy Executive Director
                     Blaine Vella
               blaine@wpath.org      Please let Blaine know of your availability for the next two weeks, August 31 –
                                     September 4, between 10am ET – 4pm ET, and September 7 – 11, between
Educational Program Coordinator      10am ET – 4pm ET, so that we can send a doodle to the EC and co-chairs to
                 Taylor O’Sullivan
                taylor@wpath.org
                                     participate in our discussion.

     Assistant Associate Director    We appreciate your understanding that these papers have a significant impact
                      Jamie Hicks    on JHU, WPATH, the work completed so far, and the eventual completion and
                 jamie@wpath.org
                                     release of the SOCv8. Great time, expertise, and care has been spent and we
        EXECUTIVE COMMITTEE
                                     want to ensure that all our combined work is duly recognized, applied, and
                       President     captured effectively.
         Vin Tangpricha, MD, PhD
                  President-Elect    Please confirm that you have received this email in good order and will defer
  Walter Pierre Bouman, MD, PhD
                                     the submission until our call and the subsequent outcome of such call.
                       Secretary
                Randi Ettner, PhD
                       Treasurer     Thank you and best regards,
       Baudewijntje Kreukels, PhD
                  Past-President
  Gail Knudson, MD, MEd, FRCPC
                                     WPATH EXECUTIVE COMMITTEE
                                     Vin Tangpricha, MD, PhD – President
                                     Walter Pierre Bouman, MD, PhD – President Elect
                                     Randi Ettner, PhD – Secretary
                                     Baudewijntje Kreukels, PhD – Treasurer
                                     Gail Knudson, MD, MEd, FRCPC – Immediate Past President


                                     Enc.            Policy & Procedures Regarding the Use of WPATH SOC8 Data
                                                     (version 2)


                                     Designated approval process for publication of Data (Figure 1)




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                 www.wpath.org
                wpath@wpath.org

          phone: 1+(847) 752-5328
             fax: 1+(224) 633-2166
                                     Figure 1 - Designated approval process for publication of Data
       1061 E Main Street Ste 300
           East Dundee, IL 60118

                          STAFF
                                                                        WPATH shares proposal
               Executive Director     Submission publication            with Chair & Co-Chairs,
                                                                                                    WPATH EC ensures vote
                                                                                                    within 30 days after the
                   Sue O’Sullivan     proposal to WPATH and            BOD, & Chapter members;
                                                                                                     dissemination of the
                                        link to SOC8 chapter             to identify 1 Chapter
                  sue@wpath.org                                                                            proposal.
                                                                               member

     Executive Director of Global
       Education & Development
                     Donna Kelly
               donna@wpath.org                                                                     President responds to the
                                                                When manuscript draft ready for
                                                                                                   author regarding outcome
                                                                 publication, author will submit
                                                                                                    of vote within 60 days of
       Deputy Executive Director                                publication to WPATH for similar
                                                                                                        submission of the
                                                                        approval process
                     Blaine Vella                                                                     proposal to WPATH.
               blaine@wpath.org

Educational Program Coordinator
                 Taylor O’Sullivan
                taylor@wpath.org

     Assistant Associate Director
                      Jamie Hicks
                 jamie@wpath.org

        EXECUTIVE COMMITTEE
                       President
         Vin Tangpricha, MD, PhD
                  President-Elect
  Walter Pierre Bouman, MD, PhD
                       Secretary
                Randi Ettner, PhD
                       Treasurer
       Baudewijntje Kreukels, PhD
                  Past-President
  Gail Knudson, MD, MEd, FRCPC




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From:            Karen Robinson
To:              Lisa Wilson; Kellan Baker; Kristen McArthur; Vaadeem Dukhanin
Subject:         FYI FW: Letter from Your WPATH EC and SOC8 Co-Chairs - re: SOC8 Data
Date:            Wednesday, October 21, 2020 8:44:39 AM
Attachments:     image003.png
                 Policy & Procedures Regarding the Use of WPATH SOC8 Data Final Approved Aug 2020.pdf


All –

I think some of you know but, with this last message from WPATH and a canceled call, I wanted to be
sure you were all aware of the situation.

Please work diligently to get manuscripts (re)submitted and let me know if you receive messages
from members of WPATH or journal editorial boards.

I am happy to have a Zoom call to talk through any concerns or questions you may have – just let me
know and we will get something in the calendar.

Thanks for all of your hard work on this project!

Thanks,
Karen


From: Karen Robinson
Sent: October 20, 2020 8:23 PM
To: WPATH EC <wpathec@wpath.org>; Jon Arcelus <Jon.Arcelus@nottingham.ac.uk>; Eli Coleman
<dreli@umn.edu>; Asa Radix <asa.radix@gmail.com>; Blaine Vella <blaine@wpath.org>
Cc: Stephen Fisher REDACTED ; Stefanie Gregory REDACTED
Subject: FW: Letter from Your WPATH EC and SOC8 Co-Chairs - re: SOC8 Data
Importance: High

All –

I am concerned about this message sent to the members of SOC8 Working Group Members as it
suggests that there continues to be incorrect interpretation regarding data ownership and
publications. WPATH approval for our publications is not required under the terms of the
agreement, the WPATH policy was not incorporated into the executed agreement so it is not binding
on us, and the JHU institution policies on academic freedom and intellectual property prohibit such
restrictions/approvals regarding publication.

It seems as though the misunderstanding may be based on the sentence in section 7 of contract that
states that WPATH “retains the unrestricted right to use to Project Data … including the publication
of the Project Data and the communication of Project Data to third parties.” Retains the right is not
the same as ownership, and it also does not preclude JHU from also having those same rights in the
Project Data.




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We have the right to publish and any JHU publications arising out of the work conducted as part of
this contract are not subject to approval by WPATH nor subject to any policy of WPATH. We will
continue to send draft manuscripts to WPATH for review and will give any comments received due
regard.

I feel like I have made these statements several times in email and phone conversations, beginning
when the contract was being negotiated in 2018. I suggest that a call might be useful and I have
copied in individuals from our Office of Research Administration and Office of General Counsel.

Thanks,
Karen

-------------
Karen A. Robinson, PhD
Professor of Medicine, Epidemiology, and Health Policy & Management
Director, Johns Hopkins University Evidence-based Practice Center
Johns Hopkins University
  REDACTED
 REDACTED
REDACTE
REDACTED




From: Jamie Hicks <jamie@wpath.org>
Sent: October 20, 2020 11:39 AM
To: Blaine Vella <blaine@wpath.org>
Cc: WPATH EC <wpathec@wpath.org>; Jon Arcelus <jon.arcelus@nottingham.ac.uk>; Eli Coleman
<dreli@umn.edu>; asa.radix@gmail.com
Subject: Letter from Your WPATH EC and SOC8 Co-Chairs - re: SOC8 Data
Importance: High




      External Email - Use Caution      




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Dear SOC8 Working Group Members,

Thank you very much for your hard work on the SOC8. Many of the chapters are going through
Delphi at present whilst many chapters also are finalizing the text of their chapters and/or
recommendation statements. This is an exciting accomplishment! We are hoping to see completed
chapters in early 2021.

We are writing you today to inform you of an update of our Policies & Procedures regarding the
WPATH SOC8 Data. As you know, WPATH commissioned a number of systematic reviews to be
conducted by John Hopkins University. These systematic reviews are the property of WPATH. We
would like to see as many systematic review manuscripts as possible to be published (ideally in our
official journal, International Journal of Transgender Health). We want to let you know that if you or
any other of your chapter members are interested in contributing a manuscript based on one of the
systematic reviews, there is a policy on how to request a copy of the reviews and permission to
publish these reviews. Please see the attached policy approved by the WPATH board that provides
the details on how to initiate this process.

As a final note, we offer our apologies regarding the tardiness of this message and the recently
developed Policy & Procedures Regarding the Use of WPATH SOC8 Data. We were caught on the
wrong foot when the John Hopkins University Team informed us of wanting to publish 3 papers
based on the SOC8 data.
Subsequently, we developed the attached Policy, which was ratified by the Board of Directors and
the SOC8 Chair and Co-Chairs.

One paper from the John Hopkins University Team has recently been published online in the
International Journal of Transgender Health, whilst two papers have not received the green light to
be published. It is paramount that any publication based on the WPATH SOC8 data is thoroughly
scrutinized and reviewed to ensure that publication does not negatively affect the provision of
transgender healthcare in the broadest sense.

We hope that you find the Policy & Procedures Regarding the Use of WPATH SOC8 Data helpful. We
thank you very much again for your support of the SOC8 revision.

Sincerely,

Vin Tangpricha
Gail Knudson
Randi Ettner


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Baudewijntje Kreukels
Walter Bouman
On behalf of WPATH



Enc.        Policy & Procedures Regarding the Use of WPATH SOC8 Data



Jamie
Jamie Hicks
She/her/hers
Assistant Associate Director
1061 East Main Street
Suite 300
East Dundee, IL 60118




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